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                                                                                               2016 Mar-24 PM 07:47
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION



         DRUMMOND COMPANY INC,

                                    Plaintiff,

              v.                                             CIVIL ACTION NO.

                                                             2:15-cv-01491-WMA

         UNITED STATES
         ENVIRONMENTAL PROTECTION
         AGENCY,

                                   Defendant.



                            DECLARATION OF LILIAN DORKA

         1.    I, Lilian Dorka, declare that the following statements are true and correct to the

best of my knowledge and belief and that they are based upon my personal knowledge,

information acquired by me in the course of performing my official duties, information contained

in the records of the United States Environmental Protection Agency (“EPA” or “the Agency”),

and/or on information provided to me by my Office of Civil Rights employees and attorneys in

the Office of General Counsel.

         2.    I am the Deputy Director in the Office of Civil Rights (“OCR”) for the EPA. I

have held this position since December 2014. As the Deputy Director, I report to the OCR

Director, Velveta Golightly-Howell and to the Office of the Administrator’s Deputy Chief of

Staff.



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      3.       Prior to joining EPA, I served as Senior Counsel to the Assistant Secretary for

Civil Rights at the U.S. Department of Education, where I worked for over 27 years.

      4.       In the course of my duties as Deputy Director, I supervise approximately ten EPA

employees who together implement OCR’s External Compliance Program. The External

Compliance Program enforces civil rights laws including Title VI of the Civil Rights Act of 1964

(Title VI), Title IX of the Education Amendments of 1972, Section 504 of the Rehabilitation Act

of 1973, and the Age Discrimination Act of 1975. Together, these laws and their implementing

regulations prohibit applicants and recipients of EPA financial assistance from discriminating on

the basis of sex, disability, age, and race, color or national origin (including on the basis of

limited-English proficiency). The Program also enforces Section 13 of the Federal Water

Pollution Control Act Amendments of 1972, which prohibit discrimination based on sex under

programs or activities receiving financial assistance under the Act. The External Compliance

Program also responds to Freedom of Information Act (FOIA), 5 U.S.C. § 552(a), requests.

      5.       This declaration provides factual background information, describes EPA’s

response to Plaintiff’s FOIA request, and explains EPA’s decision to withhold responsive

information pursuant to FOIA exemptions. The attached Vaughn index contains additional detail

about each record the Agency redacted pursuant to FOIA exemptions.

      6.       I am personally familiar with the FOIA request that Mr. Tal Simpson submitted

on March 6, 2015 on behalf of Plaintiff, Drummond Company Inc.

I.     COMPLAINTS UNDER TITLE VI OF THE CIVIL RIGHTS ACT OF 1964.

      7.       This litigation and the underlying FOIA request concerns two Title VI complaints.

Title VI allows persons to file administrative complaints (“Title VI complaints”) with federal




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departments and agencies alleging discrimination by financial assistance recipients. EPA

Regulations direct OCR to process non-discrimination complaints.

      8.       After receiving a Title VI complaint, OCR conducts a jurisdictional review.

Jurisdictional review ensures the complaint is proper and that OCR has authority to initiate an

investigation. Next, OCR informs the complainant and recipient as to whether it can accept,

reject and/or refer the complaint. When a complaint satisfies the jurisdictional review elements,

OCR then begins the investigative process. At any time during an investigation, OCR may

initiate an informal conciliation agreement by collaborating with the complainant and recipient

or seeking alternative dispute resolution. If OCR completes an investigation, it issues a letter of

finding to both complainant and recipient.

      9.       OCR received the first related Title VI Complaint on February 6, 2015 from Mr.

David Ludder on behalf of a group of complainants. The complaint alleges that the Jefferson

County Department of Health (“JCDH” or “recipient”) “violated Title VI and EPA’s

implementing regulations by issuing, on August 11, 2014, Major Source Operating Permit No. 4-

07-0001-03 authorizing ABC Coke, A Division of Drummond Company, Inc. to operate a major

source of air pollution in Jefferson County, Alabama which has the effect of adversely and

disparately impacting African-American residents in the adjacent community.”

      10.      OCR assigned the complaint tracking number 03R-15-R4 and performed a

jurisdictional review. On March 6, 2015, OCR sent letters notifying complainant and recipient of

OCR’s receipt and acceptance of the complaint for investigation.

      11.      OCR received the second related complaint on March 3, 2015. Mr. Ludder

submitted this complaint on behalf of a different group of complainants. The March 3, 2015

complaint alleges that JCDH “violated Title VI and EPA’s implementing regulations by issuing,



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on October 3, 2014, Major Source Operating Permit No. 4-07-0355-03 authorizing Walter Coke,

Inc. to operate a major source of air pollution in Jefferson County, Alabama which has the effect

of adversely and disparately impacting African-American residents in the adjacent community

without justification.”

      12.      OCR assigned the complaint tracking number 08R-15-R4 and performed a

jurisdictional review. On or about April 1, 2015, OCR sent letters notifying complainant and

recipient of OCR’s receipt of the complaint. On August 10, 2015, OCR sent letters notifying the

complainant and recipient of OCR's acceptance of the complaint for investigation.

      13.      Currently, OCR is conducting investigations to determine whether JCDH’s

renewal of the Major Source Operating Permits (MSOPs) for the ABC Coke facility (complaint

03R-15-R4) and Walter Coke facility (complaint 08R-15-R4) have a discriminatorily

disproportionate adverse impact on the health of the neighboring, predominantly African

American, community on the basis of race/color, in violation of Title VI and its implementing

regulation.

II.    FOIA REQUEST EPA-HQ-2015-004930 SUBMITTED BY THE PLAINTIFF.

      14.      On March 6, 2015, Mr. Tal Simpson submitted a FOIA request via FOIAonline,

the Agency’s internet based FOIA tracking system. From FOIAonline, requesters can submit

FOIA requests, track the status of requests, search for requests submitted by others, and access

previously released records. The request sought “any and all agency records, including but not

limited to communications, related to the Title VI complaints submitted to [OCR] by Mr. David

Ludder, which are respectively dated February 5, 2015, and March 2, 2015. Please include, in

addition to all other records related to these two Title VI complaints, complete, unredacted




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copies of each complaint.” FOIAonline assigned the request tracking number EPA-HQ-2015-

004930.

      15.      On March 6, 2015, EPA’s headquarters FOIA office assigned Mr. Simpson’s

request to the Administrator's Office of Executive Secretariat (OEX), which coordinates FOIA

requests for programs within the Offices of the Administrator, including OCR. On March 9,

2015, OEX assigned the request to OCR.

      16.      On April 23, 2015, an OCR staff assistant assigned the request to Mr. Sam

Peterson, an equal opportunity investigator in OCR’s External Compliance Program.

      17.      On April 24, 2015, Mr. Peterson sent an email to Mr. Simpson that stated “OCR

is reviewing your request and will be in contact with you thereafter.”

      18.      On June 17, 2015, Mr. Peterson responded to Mr. Simpson in a letter that stated,

in part: “EPA will be unable to provide you with further information on these complaints until

such time as the matters are resolved” and “EPA asks that you frame the request in a way that

will permit EPA employees to identify and locate relevant records. This request potentially

implicates thousands of responsive documents from dozens of custodians, stored in several

Agency offices nationwide.” The letter also quoted EPA’s FOIA regulations, 40 CFR § 2.102(c),

and asked Mr. Simpson to clarify his request.

      19.      Mr. Simpson did not respond to the June 17, 2015 letter.

      20.      After Plaintiff initiated this lawsuit, the Agency used information in the

Complaint to structure and perform broad searches for responsive records, and then performed

document review and production.

      21.      Search. In November and December 2015, OCR, in consultation with other EPA

offices, created a list of approximately 48 employees, from Headquarters and Region 4 offices,



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likely to be custodians of records responsive to the request. Next, the Agency created a list of

keywords including “Ludder”, “Greater Birmingham Alliance to Stop Pollution”, “GASP”,

“G.A.S.P.” “Jefferson County Department of Health”, “JCDH,”, “07-0001-03,” “07-0355-

03,”“Walter Coke”, “ABC Coke,” Drummond.”, “Title VI” and “Title 6”. The key words and

custodians were sent to EPA’s Office of Environmental Information (“OEI”).

      22.      OEI, which maintains the Agency’s email system and is generally responsible for

performing centralized electronic searches of email files on behalf of program offices, was

tasked with searching for responsive emails using a centralized tool. Based on the custodian list

and keywords provided, OEI searched the 48 employees’ email files. OEI then provided the

search results for review.

      23.      Additionally, Mr. Peterson, the equal opportunity investigator assigned as case

manager to both the February and March Title VI complaints, performed a manual search of the

case files for responsive records. This manual search ensured that any responsive records not

contained in the email system, such as word processing documents not attached to an email and

hard copy records, were also located and produced. As a result, EPA searched all locations

reasonably likely to contain responsive records.

      24.      Review. All potentially responsive records were compiled and reviewed for

responsiveness to the request. Then, responsive records were reviewed, line-by-line, to locate

and redact information exempt from disclosure under FOIA. The attached Vaughn index lists and

explains all exemptions applicable to each redaction.

      25.      Production. On January 11, 2016, EPA emailed an 1195 page PDF of responsive

records to the Plaintiff, who confirmed receipt.. In total, EPA produced approximately 400




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responsive records. Approximately 220 records were released in full and approximately 180

were released in-part (with redactions). No responsive records were withheld in full.

      26.      In preparing the attached Vaughn index, Agency attorneys performed additional

review of the partially redacted records and identified approximately 20 records that were

originally released to requester in-part, but the Agency has released those records in full. In total,

EPA thus released approximately 240 records in full and approximately 160 records in part.

      27.      Of the responsive records released in part, EPA redacted approximately 130

records under Exemption 5’s deliberative process privilege, approximately 40 under Exemption

5’s attorney client privilege, approximately four under Exemption 6, and approximately two

under Exemption 7(c). Some records contain redactions under multiple exemptions, as indicated

on the Vaughn index.

   III.     VAUGHN INDEX AND WITHHELD RECORDS.

      28.      The Agency made the majority of its withholdings pursuant to the Exemption 5’s

deliberative process privilege and attorney-client privilege. Exemption 5 protects inter- and intra-

agency documents and communications which would not be available by law to a party other

than an agency in litigation with the agency. The Agency also withheld content under

Exemptions 6 and 7(c). Exemption 6 protects information about individuals in personnel,

medical, and similar files when disclosure of such information would constitute a clearly

unwarranted invasion of personal privacy. Exemption 7(c) protects records or information

compiled for law enforcement purposes to the extent that disclosure could reasonably be

expected to constitute an unwarranted invasion of personal privacy. The attached Vaughn index

further describes the withheld information, the basis for withholding the information, the

applicability of the Exemption(s) to the redacted information, and explains segreability.



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          A.   FOIA Exemption 5’s Deliberative Process Privilege.

      29.      The responsive records EPA withheld in part pursuant to Exemption 5’s

deliberative process privilege (“DPP”) are inter- and intra-agency emails, draft correspondence,

proposed meeting agendas, and internal briefing memos that all remained internal to EPA. The

DPP applies to predecisional and deliberative information. I describe the similar categories of

documents below, and the included Vaughn index describes each individual document in further

detail.

      30.      EPA's deliberative process can involve the creation of draft correspondence by

staff-level EPA employees that is then reviewed, edited, and modified by multiple EPA

employees before the correspondence becomes final at the direction of the higher-level EPA

official that signs the document. Some of the withheld content include drafts of official

correspondence from my office. This category also includes drafts of documents developed to

prepare EPA officials to communicate about potential agency activities relating to the Title VI

complaints. These records include jurisdictional review analyses and memos, communications

with public affairs staff, and acknowledgement and acceptance letters used to correspond with

Title VI complainants. Where applicable, final versions of the formal correspondence in this

category were released.

      31.      The withheld information is predecisional because it was prepared to assist EPA

employees evaluate choices related to acceptance or rejections of the Title VI complaints. The

formal or official correspondence normally communicates an Agency finding or conclusion to

another party, and therefore until such time as the document is finalized and signed, the draft

versions and EPA employees’ internal correspondence discussing the issues addressed within the

drafts remain predecisional. The internal drafts developed for this purpose are deliberative



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because they reflect back-and-forth discussion and edits between staff at the Agency working to

accurately communicate with an interested party. Drafts of these documents also reflect

information and statements that are often changed, replaced or removed based on further

development and refinement of the Agency's intended communication. Release of this draft

information would harm the Agency's ability to clearly and effectively communicate. Release

may also have a chilling effect on candid discussions among EPA staff regarding considerations

of accuracy, completeness, required context, tone and related issues when finalizing an official

piece of correspondence. Full release of all draft material would also create public confusion by

introducing ideas, analysis and opinions of staff that were not ultimately selected for inclusion

and do not represent the final outcome.

      32.      EPA also withheld in part email messages pertaining to both the development of

substantive Agency decisions regarding the Title VI complaints and the drafting and

development of formal letters to communicate with the complainant and recipient. The redacted

emails contain deliberations between OCR, EPA Region 4, public affairs staff and Office of

General Counsel (“OGC”). The emails address topics such as the cogency of the complaints’

allegations and the complainants’ personal privacy interests. Most redacted emails contain

discussions between EPA staff regarding a series of expected decisions relating to the Title VI

complaints’ allegations. Some of the withheld information represents staff-level discussions

about responding to the Title VI complaints, how to evaluate and respond to the complaints, and

the status of pending actions at a Superfund site related to the Title VI complaints. The redacted

information also relates to the development of formal correspondence and other draft documents

including edits, suggestions, recommendations, and general back-and-forth email discussions

about documents in draft form. Other redactions are made to protect internal coordination



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between various EPA offices, including OCR, OGC, public affairs and EPA Region 4, that were

reviewing the Title VI complaints simultaneously.

      33.      These emails are predecisional because they address the Agency’s various options

and tactics relating to the Agency’s response to the requested Title VI complaints. The emails

reflect discussion among staff about how to best communicate with relevant interested parties.

Further, these emails are deliberative because they contain informal and impromptu exchanges of

employee thoughts and opinions about the Agency’s future decisions, but the redacted emails do

not represent final Agency determinations. OCR staff routinely email one another, providing and

responding to suggestions as they draft documents or answer inquiries from colleagues. Email is

a means for EPA employees to communicate quickly, candidly, and informally to carry out their

duties as promptly and efficiently as possible. These email discussions about ongoing tasks most

resemble give-and-take conversations between staff members. Disclosing such emails would

severely hamper the Agency’s ability to efficiently conduct day-to-day operations because

employees would fear release of their open ended discussions, ideas, advice, and constructive

criticism exchanged by email. If the redacted information were disclosed, EPA employees would

be less likely to use email as a tool to quickly, candidly, and effectively communicate with their

colleagues, especially colleagues located in different and often distant EPA offices. Full release

of the redacted content would reveal significant portions of candid email conversations seriously

hindering EPA's ability to foster open and honest internal discussion necessary for thorough,

efficient, and reasoned decision-making.

      34.      EPA's evaluation of and activities relating to the requested Title VI complaints

generated additional deliberative documents, including meeting agendas and ideas, notes, and

project status reports. Each of these withheld document types are used to enhance EPA



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employees’ work product and contain employees’ mental impressions and independent thoughts.

This category of records is predecisional because EPA employees typically create them during

analytic processes. For example, such records are deliberative because they reflect thoughts and

ideas of an individual employee regarding information discussed or presented at a

teleconference, phone call or meeting convened to address various necessary duties that follow

the submission of a discrimination complaint. Full release of these redacted records would be

harmful because EPA employees would hesitate to record contemporaneous thoughts and

notations while performing their jobs.

               B.      FOIA Exemption 5’s Attorney Client Privilege.

      35.      FOIA’s Exemption 5 also protects attorney-client privileged information, or

specifically, confidential communications amongst Agency attorneys or between Agency

attorneys and their Agency clients. The majority of redacted content subject to the attorney client

privilege (“ACP”) was created as Agency attorneys prepared to provide or provided legal advice

concerning the jurisdictional review of the discrimination complaints and personal privacy of

complainants. To prepare legal advice, attorneys frequently communicate with their attorney

colleagues and then with their clients to discuss the application of facts to their interpretation of

related laws and regulations.

      36.      OCR’s tasks following receipt of discrimination complaints require the Agency to

make legal determinations, so Agency attorneys must regularly contribute legal advice and

counsel to their Agency clients responsible for processing, responding to and investigating the

complaints. Agency attorneys also advise their internal clients when unique legal and regulatory

questions arise. Attorneys help other Agency employees apply new sets of facts to existing laws

and regulations.



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      37.      Some responsive records are redacted pursuant to both DPP and ACP because, for

example, OCR sent legal questions to OGC and Region 4 attorneys during and about the analytic

processes discussed above in the DPP paragraphs. In fact, a specific OGC attorney is made

available to counsel the external compliance staff assigned to process each discrimination

complaint. External compliance employees are encouraged to seek legal advice and counsel

whenever needed. Protecting attorney-client communications and related documents from

disclosures allows my staff to seek legal advice and conduct candid conversations with counsel

without fearing release.

               C.      FOIA Exemption 6.

      38.      Responsive records withheld pursuant to Exemption 6 contain private citizens’

names, addresses and telephone numbers, or personal information of EPA employees. Exemption

6 protects from disclosure personnel and medical files and similar files when the disclosure of

such information would constitute a clearly unwarranted invasion of personal privacy. Before

withholding information pursuant to this exemption, EPA balances the privacy interests of the

individuals mentioned in the records against public interest in disclosure. In conducting this

analysis, the public interest in disclosure is determined by asking whether the information in

question sheds light on EPA's performance of its mission to protect human health and the

environment.

      39.      EPA reviewed each item of information to determine the nature and strength of

the privacy interest of every individual whose name and/or personal information appears in the

responsive records.

      40.      I understand from counsel that the plaintiff specifically requested “unredacted”

copies of two Title VI complaints. My office, in consultation with OGC, determined that the



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Title VI complaints could only be released after redacting the full names, street address, and

phone numbers of approximately 42 complainants named in the two Title VI complaints. EPA

released the complainants’ city, state and zip code to allow the requester and public to determine

the complainants’ general location because the general location may shed light on EPA's ability

to protect human health and the environment. However, the complainants’ privacy interests in

the remaining withheld information outweigh any FOIA requester’s interest in the information

because the withheld personal information does not shed light on EPA's ability to protect human

health and the environment.

      41.      EPA protects personal identifiable information, such as complainants’ names and

home addresses, to reduce the likelihood of complainants’ receiving unsolicited mailings, phone

calls, visitors to their private residence, and intimidation related to the Title VI complaint. In this

instance, the harm to the individual as a result of the disclosure outweighs the public interest in

such disclosure.

      42.      EPA also applied Exemption 6 to approximately three records to protect EPA

employees’ personal information such as non-government personal email addresses and a non-

government personal telephone number. Disclosure of this information would constitute an

unwarranted invasion of personal privacy. The withheld information applies to and is identified

with an individual. There is no public interest in the individuals' personal, non-government,

contact information. Additionally, EPA redacts such information to protect the employees from

potential unsolicited communications to their personal, non-government, contact information.

This personal contact information does not shed light on the Agency’s performance of official

duties. The harm to the individual resulting from disclosure of this information outweighs the

public interest in disclosure.



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               D.        FOIA Exemption 7(c).

      43.      Exemption 7(c) is used to redact the names, addresses and telephone numbers of

the Title VI complainants. EPA uses Exemption 7(c) only in the two Title VI complaints.

      44.      Exemption 7(c) protects from disclosure records or information compiled for law

enforcement purposes that could reasonably be expected to constitute an unwarranted invasion of

personal privacy.

      45.      OCR is required to enforce the civil rights laws. The requested Title VI

complaints are law enforcement records that pertain specifically to private citizens. EPA relies

on private citizens to submit information and allegations that assist the Agency in enforcing the

non-discrimination statutes. The names and personal contact information of private citizen

complainants does not relate to any official information about EPA or any government agency.

Instead, release of such information is an invasion of citizens’ privacy. If their information is

disclosed and made available to the requester and general public, the complainants could be

subject to harassment or intimidation and in turn compromise the investigation. Furthermore,

others subject to violation of non-discrimination laws may be fearful of filing a complaint if EPA

releases complainants’ names, home addresses and phone numbers to the public.

   IV.      SEGREGABILITY.

      46.      Following a line-by-line review of the responsive records by Agency attorneys, all

reasonably segregable, non-exempt information was released to the requester. As a result of

EPA’s line-by-line review of the responsive records, the Agency is not withholding in full a

single responsive record. The Agency made every possible effort to release all reasonably, non-

exempt, segregable information. For example, where the Agency redacted significant portions of

an email, it disclosed all non-exempt segregable information such as the TO, FROM and CC



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              Threads, Duplicates,
Document ID                                  Subject            Exemption                                                                  Vaughn Explanation
                 Attachments
_00000095                            I cancelled our mtg as I               Released in Full
                                     don't think you have any
                                     JRs. I will schedule
                                     another mtg to discuss
                                     your investigations. Thx

_00000096     00000096; 00000104; Latest Ludder Complaint                   Released in Full
              00000132; 00001582; regarding JCDH Major
                                  Source Permit No. 4‐07‐
                                  0355‐03 EPA File No. 08R‐
                                  15‐R4

_00000097                            Complaint Under Title VI Ex. 6 and     The redacted record is the March 2, 2015 Title VI Complaint submitted to EPA under Title VI of the Civil Rights Act of 1964 (42 U.S.C. §§ 2000d
                                     of the Civil Rights Act of 7(c )       to 2000d‐7, and 40 C.F.R. Part 7) by attorney David Ludder on behalf of complainants. Complainants allege that the Jefferson County
                                     1964, 42 U.S.C. §§ 2000d               Department of Health (JCDH) violated Title VI and EPA's implementing regulations by issuing a Major Source Operating Permit authorizing
                                     to 2000d‐7, and 40 C.F.R.              Walter Coke, Incl. to operate a facility in Jefferson County Alabama that emits air pollutants. Complainants allege that the facility adversely and
                                     Part 7 ‐ Jefferson County              disparately impacts African‐American residents in the communities surrounding Walter Coke's facility. Complainants argue that EPA Office of
                                     [Alabama] Department of                Civil Rights should investigate whether the Jefferson County Department of Health violated Title VI of the Civil Rights Act by permitting Walter
                                     Health                                 Coke's emissions to adversely impact African‐American residents.

                                                                            EXEMPTION 6 PERSONAL PRIVACY: The redactions prevent disclosure of names and home addresses of private citizens. Disclosure of these
                                                                            names, addresses and contact information would constitute a clearly unwarranted invasion of personal privacy. The withheld information is
                                                                            within the scope of “personnel and medical files and similar files” because the information applies to and is identified with private citizens.
                                                                            There is no public interest in the individuals' personal contact information, such as full names and home addresses. The names and addresses
                                                                            redacted on the basis of Exemption 6 for personal privacy are protected to avoid potential unsolicited communications or intimidation related to
                                                                            the Title VI Complaint; to prevent possible burden of unsolicited mailings and visitors at a private residence. Also, in this instance where the
                                                                            individuals' names and addresses have been withheld, the redactions do not cover the city, state, and zip code. In this instance, the harm to the
                                                                            individual as a result of the disclosure clearly outweighs the public interest in such disclosure.

                                                                            EXEMPTION 7(c) Exemption 7(c) protects from disclosure records or information compiled for law enforcement purposes that could reasonably
                                                                            be expected to constitute an unwarranted invasion of personal privacy. Information withheld under 7(c) remains withheld even after the related
                                                                            law enforcement investigation ends. 7(c) applies to personal privacy of all individuals involved in an investigation. Exemption 7(c) is the law
                                                                            enforcement counterpart to Exemption 6 and both exemptions apply to the redacted personal identifiable information contained in the two
                                                                            Title VI complaints at issue. EPA uses Exemption 7(c) only in the two Title VI complaints. OCR is required to enforce the civil rights laws. The
                                                                            requested Title VI complaints are law enforcement records that pertain specifically to private citizens. EPA relies on private citizens to submit
                                                                            information and allegations that assist the Agency in enforcing the non‐discrimination statutes. The names and personal contact information of
                                                                            private citizen complainants does not relate to any official information about EPA or any government agency. Instead, release of such
                                                                            information is an invasion of citizens’ privacy. If their information is disclosed and made available to the requester and general public, the
                                                                            complainants could be subject to harassment or intimidation and in turn compromise the investigation. Furthermore, others subject to violation
                                                                              f     d               l         b f f l ffl                  l   f        l           l      ’         h      dd          d h          b        h
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              Threads, Duplicates,
Document ID                                  Subject          Exemption                                                                  Vaughn Explanation
                 Attachments
_00000098                                                     5 DPP       The redacted document is a draft Jurisdictional Review document used within the Office of Civil Rights to evaluate Title VI complaints and to
                                                                          determine if the Complaint is proper and warrants OCR's investigation per 40 CFR Section 7.120. A complaint must satisfy four essential
                                                                          jurisdictional elements for OCR to accept a complaint for further investigation. OCR must conduct internal analysis and deliberations while
                                                                          evaluating a Title VI complaint. The Jurisdictional Review document is an essential element of OCR's analysis and deliberations.

                                                                          EXEMPTION 5 DELIBERATIVE PROCESS: The redacted portion of the draft document contain pre‐decisional jurisdictional theories and
                                                                          recommendations, which fall under Exemption 5's deliberative process privilege. The withheld draft attachment reflects pre‐decisional
                                                                          deliberations between EPA employees and their managers about the Title VI Civil Rights complaint filed by Mr. David Ludder on March 3, 2015.
                                                                          The redacted portions provide information about the Agency’s internal decision making process. At the time the document was created, EPA
                                                                          was deliberating about the proper response. Employees draft jurisdictional review documents to make recommendations to their supervisors.
                                                                          This version is in draft form prior to the employee sending it to the supervisor. The authors do not have decision‐making authority with respect
                                                                          to providing the final response to the Complainant. Furthermore, the final version, not this draft version, becomes a briefing document that
                                                                          helps management understand the issues surrounding the pending Title VI Complaint.

                                                                          The withheld information is deliberative because EPA employees and managers were still internally discussing issues of how to best coordinate
                                                                          the Agency’s response and whether or not the Complaint satisfied applicable laws and regulations. The record reflects analysis,
                                                                          recommendations, and opinions that were considered as part of the Agency's decision‐making process for responding to the Title VI Request.
                                                                          The document does not represent a final agency action.

                                                                          Release would discourage open and frank discussions among its staff about the Agency's ongoing review of issues related to its response to the
                                                                          pending Title VI complaints. Release would also have a chilling effect on agency decision‐making processes, and on the Agency's ability to have
                                                                          internal discussions and consultations concerning the Title VI complaints. Furthermore, release would cause public confusion by disclosing
                                                                          rationales and reasons that may not in fact weigh on EPA's final decision. The withheld information was not circulated outside the Agency.




_00000099     N/A                                                         Released in Full
_00000100     00000100; 00000136                                          Released in Full
_00000101     00000101; 00000137                                          Released in Full
_00000104     00000096; 00000104; Latest Ludder Complaint                 Released in Full
              00000132; 00001582; regarding JCDH Major
                                  Source Permit No. 4‐07‐
                                  0355‐03 EPA File No. 08R‐
                                  15‐R4

_00000110     N/A                    08‐15‐R4 Jefferson                   Released in Full, 3‐23‐16
                                     County #2
_00000111                            EPA File No. 08R‐15‐R4               Released in Full. Note: the small gray box is not a redactions, this is generated by mobile devices in some emails.
_00000113                                                                 Released in Full
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 18 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                   Subject             Exemption                                                                Vaughn Explanation
                 Attachments
_00000116                            FINALIZED AND MAILED:                    Released in Full, 3‐23‐16
                                     LUDDER/STATON
                                     Notification of Receipt of
                                     Administrative Complaint
                                     EPA File No. 08R‐15‐R4




_00000117                                                                     Released in Full
_00000118                                                                     Released in Full
_00000119                                                                     Released in Full
_00000120                                                                     Released in Full
_00000122     00000122; 00000128; Ludder ‐ Jefferson                          Released in Full, 3‐23‐16
              00000258            County Department of
                                  Health: Region 4
_00000123                                                                     Released in Full
_00000124                                                                     Released in Full
_00000128     00000122; 00000128; Ludder ‐ Jefferson                          Released in Full, 3‐23‐16
              00000258            County Department of
                                  Health: Region 4
_00000131     00000131; 00000138 Complaint No. 03R‐15‐ 5 DPP                  The redacted record is an inter‐agency email string. Jeryl Covington's 4/1/15 email contains personal impressions and opinions about
                                  R4; Response of Jefferson                   forthcoming agency action. Ms. Covington also seeks input and opinions from inter‐agency colleagues. Helena Wooden‐Aguilar's 3/31/15 email
                                  County Department of                        contains questions, opinions, advice and non‐final planning and scheduling comments.
                                  Health
                                                                              EXEMPTION 5 DELIBERATIVE PROCESS: The withheld portions of the email string are pre‐decisional deliberations between EPA employees and
                                                                              their managers about Title VI Complaints submitted to the Agency. At the time the emails were sent, the Agency had not yet made a response
                                                                              determination on the Title VI Complaint under discussion. These EPA employees were discussing their forthcoming response to the Title VI
                                                                              complaint and relegated inquiries. The attachment is the March 3, 2015 Title VI complaint submitted by David Ludder (see Doc ID
                                                                              000621_01_00000097‐000010 at PDF Page 6 of 1195).

                                                                              The withheld information is deliberative because EPA employees and managers were coordinating the Agency’s response to the Title VI
                                                                              complaint. The employees were also discussing who should be involved in reviewing and processing the Title VI complaint. Additionally, the
                                                                              email contains an employee's request for advice and questions to his/her supervisors about properly responding to external inquiries about the
                                                                              Title VI complaint. The entire email string remains entirely internal to the agency.

                                                                              Release would discourage open and frank discussions among its staff about the Agency's ongoing review of issues related to its response to the
                                                                              pending Title VI complaint. Release would also have a chilling effect on agency decision‐making processes, and on the Agency's ability to have
                                                                              internal discussions and consultations concerning the Title VI complaint response. Furthermore, release would cause public confusion by
                                                                              disclosing individual opinions, questions and deliberations that may not have ultimately influenced the Agency's response to the Title VI
                                                                              complainant and related inquiries. The withheld information was not circulated outside the Agency.
                                              Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 19 of 58
                                                            Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                Subject            Exemption                                                                 Vaughn Explanation
                 Attachments
_00000132     00000096; 00000104; Latest Ludder Complaint                 Released in Full
              00000132; 00001582; regarding JCDH Major
                                  Source Permit No. 4‐07‐
                                  0355‐03 EPA File No. 08R‐
                                  15‐R4

_00000136     00000100; 00000136                                          Released in Full
_00000137     00000101; 00000137                                          Released in Full
_00000138     00000131; 00000138 Complaint No. 03R‐15‐ 5 DPP              The redacted information is contained in internal agency emails. Helena Wooden‐Aguilar's 4/1/15 email contains questions, opinions, advice
                                 R4; Response of Jefferson                and non‐final planning and scheduling comments. The withheld portions of the email string reflect pre‐decisional deliberations between EPA
                                 County Department of                     employees and their managers about Title VI Complaints submitted to the Agency. At the time the emails were sent, the Agency had yet to
                                 Health                                   respond to the Title VI Complaint, and EPA was deliberating on the best approach for responding to the Title VI complaint and related inquiries.

                                                                          The withheld information is deliberative because EPA employees and managers were still internally discussing issues of how to best coordinate
                                                                          the Agency’s response and who should be involved with processing the Title VI complaint. The withheld information is also deliberative because
                                                                          an agency employee is asking his supervisor for advice in responding to external inquiries about the Title VI complaint.

                                                                          Release would discourage open and frank discussions among its staff about the Agency's ongoing review of issues related to its response to the
                                                                          pending Title VI complaint. Release would also have a chilling effect on agency decision‐making processes, and on the Agency's ability to have
                                                                          internal discussions and consultations concerning the Title VI complaint response. Furthermore, release would cause public confusion by
                                                                          disclosing individual opinions, questions and deliberations that may not have ultimately influenced the Agency's response to the Title VI
                                                                          complainant and related inquiries. The withheld information was not circulated outside the Agency. Redacted portion below "On Mar 31, 2015,
                                                                          at 5:58 PM, "Peterson, Samuel" <Peterson.Samuel@epa.gov> wrote:" on page 75 of 1195 is released in document 00000131 (page 66 of 1195).
                                                                          That mistakenly redacted text reads: "As received from JCDH attorneys. Are they entitled to unredacted copies of the Complaint?"




_00000141                                                                 Released in Full
_00000204;    00000438; 00000674; background complaint                    Released in Full, 3‐23‐16 and released in multiple other documents.
              00000675; 00000907; for Privacy Act issue
              00000919; 00000942;
              00000948; 00001049;
              00001051;
                                                  Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 20 of 58
                                                                Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                   Subject           Exemption                                                                   Vaughn Explanation
                 Attachments
_00000207                            Complaint Under Title VI 6; 7c         The withheld information is within a February 5, 2015 Complaint filed under Title VI of the Civil Rights Act of 1964 (42 U.S.C. §§ 2000d to 2000d‐
                                     of the Civil Rights Act of             7, and 40 C.F.R. Part 7) by attorney David Ludder on behalf of complainants. The withheld portion of the Complaint relates to personal names
                                     1964, 42 U.S.C. §§ 2000d               and home address contact information of private citizens, the disclosure of which would constitute a clearly unwarranted invasion of personal
                                     to 2000d‐7, and 40 C.F.R.              privacy. The withheld information is within the scope of “personnel and medical files and similar files” because the information applies to and is
                                     Part 7 ‐ Jefferson County              identified with private citizens.
                                     [Alabama] Department of
                                     Health                                 EXEMPTION 6 ‐ PERSONAL PRIVACY
                                                                            There is no public interest in the individuals' personal contact information, such as personal full names and home addresses. The names and
                                                                            addresses redacted on the basis of Exemption 6 for personal privacy are protected to avoid potential unsolicited communications; to prevent
                                                                            possible burden of unsolicited mailings and visitors at a private residence. Also, in this instance where the individuals' names and addresses have
                                                                            been withheld, the redactions do not cover the city, state, and zip code. In this instance, the harm to the individual as a result of the disclosure
                                                                            clearly outweighs the public interest in such disclosure.

                                                                            EXEMPTION 7(c) PERSONAL PRIVACY Exemption 7(c) also applies to the complainants' names, addresses, and telephone numbers found in both
                                                                            of the Title VI Complaints named in Plaintiff's FOIA request. Ex. 7(c) is the law enforcement counterpart to Exemption 6. EPA released in full the
                                                                            remaining content of those two records.The Title VI complaints are law enforcement records that pertain specifically to private ci zens. Once
                                                                            OCR accepts a Title VI complaint, it immediately begins an investigation. The identity of individuals who provide allegations of wrongdoing to
                                                                            EPA in no way provides official information about EPA or any government agency. The names, addresses, and phone numbers of private citizens
                                                                            alleging that their local Health Department violates Civil Rights laws should not be released because the complainants could be subject to
                                                                            harassment or intimidation by someone who disagrees with the allegations provided in the Title VI complaint. Complainants may choose to
                                                                            disclose their identity and contact information, but EPA is not obligated to do so without the complainants’ consent. Exemption 7(c) protects
                                                                            from disclosure records or information compiled for law enforcement purposes that could reasonably be expected to constitute an unwarranted
                                                                            invasion of personal privacy. Information withheld under 7(c) remains withheld even after the related law enforcement investigation ends. 7(c)
                                                                            applies to personal privacy of all individuals involved in an investigation. Exemption 7(c) is the law enforcement counterpart to Exemption 6 and
                                                                            both exemptions apply to the redacted personal identifiable information contained in the two Title VI complaints at issue. EPA uses Exemption
                                                                            7(c) only in the two Title VI complaints. OCR is required to enforce the civil rights laws. The requested Title VI complaints are law enforcement
                                                                            records that pertain specifically to private citizens. EPA relies on private citizens to submit information and allegations that assist the Agency in
_00000253                            Recipient request for                     f
                                                                            Released   inhFull d                           h            d          l           f           f                    l        d            l
                                     Copy of Complaint Filed
                                     regarding Complaint 03R‐
                                     15‐R4 (JCDH/ABC Coke)

_00000258     00000122; 00000128; Ludder ‐ Jefferson                        Released In Full, 3‐23‐16
              00000258            County Department of
                                  Health: Region 4
_00000259                         Acknowledgement Letter                    Released In Full, 3‐23‐16

_00000264     00000264; 00001745;                               NR          The redacted text is non‐responsive. This record is titled "2015 Title VI ‐ Region IV Second Quarter Update." The only portion of this document
              00003213                                                      that is responsive to the FOIA request was released in full, but the non‐responsive portions redacted in 00000264 were released in Doc ID
                                                                            00001745. Doc ID 00001745 contains additional non‐responsive pages that are not found in Doc ID 00000264.

_00000295                                                                   Non‐responsive
_00000296                            Title VI Complaint Lists               The redacted text is non‐responsive. This record is a list of Title VI Complaints. It mentions Complaint 4R‐15‐R4 and is therefor partially
                                                                            responsive, but no other content in the record is responsive to the FOIA request
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 21 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject         Exemption                                                                   Vaughn Explanation
                 Attachments
_00000305                            Notification Template           6 The redaction covers name of a Title VI complainant who submitted a complaint alleging that recipient of EPA funds in EPA Region 9 (west coast)
                                                                       violated Title VI of the Civil Rights Act. The redacted name is located in the file name of an email attachment. The attachment itself is non‐
                                                                       responsive. The email was sent by an OCR attorney and an OCR investigator. The redacted name relates does not relate to EPA Region 4 or
                                                                       Plaintiff's FOIA request at issue in the present litigation. ‐‐

                                                                         EXEMPTION 6 PERSONAL PRIVACY ‐‐ The redaction removes the name of a private citizen who filed a Title VI complaint. The name is redacted
                                                                         because it is the name of a private citizen complainant. There is no public interest in the individuals' name. The name is protected to avoid
                                                                         revealing the complainant's identity and possible repercussions associated with revealing the person's identity. The potential harm to the
                                                                         private citizen from disclosure outweighs the public interest in such disclosure. Additionally, Plaintiff has no interest in this name because it is
                                                                         not associated with the Title VI Complaints at issue in the litigations.

_00000401     00000401; 00000479; JCBH's dismissal of                    Released in Full
              00000505            GASP's request for a
                                  hearing re ABC Coke
                                  permit
_00000403     00000403; 00000440; Title VI complaint vs ABC 5 DPP; ACP   This document is one of many near duplicates. Each of the near duplicates contain an email written by Robert W. Caplan, attorney in R4's Office
              00000445; 00000446; Coke/Drummond                          of Regional Counsel, originally sent on March 23, 2015. Document IDs 00000687 and 00000859 reveal the greatest amount of Mr. Caplan's
              00000447; 00000448;                                        March 23 email. Most of these near duplicates also include an email from Robert W. Caplan to Collette Harrell, Bcc'ing Alyssa Gesell, both EPA
              00000449: 00000475;                                        OGC attorneys, sent on April 22, 2015 at 12:30 PM). Each duplicate contains slightly different redactions. The common emails between each of
              00000687; 00000859;                                        the near duplicates resent and/or forwarded to multiple different epa employees on different days. Nevertheless, unless otherwise noted, the
              00000861; 00001295:                                        Vaughn explanations are the same for each duplicate because the subject matter (including facts and any relevant law) of each redaction is
              00002693; 00002707;                                        identical. Each time the email was resent or forwarded, it remained within EPA and was only shared with EPA employees with a need to know.
              00002719; 00003851.                                        The reoccurring email from Mr. Caplan to Kim Jones discusses ongoing actions between EPA R4 and ABC Coke including injunctive relief,
                                                                         compliance, settlement negotiations, and potential consent decree. The Ex. 5 redactions fall under both the Deliberative Process Privilege and
                                                                         the Attorney Client Privilege.
                                                                         EX 5 DPP ‐ This document is predecisional and deliberative because it discusses ongoing decision‐making processes. The email was sent before a
                                                                         decision about its subject matter was made and discusses EPA's options and future decisions about the Title VI complaint. It includes phrases
                                                                         like "here's an update", "I can update you again after", "things could begin to move quickly" and "it is my hope." These are all parts of a
                                                                         deliberative discussion and an update on an ongoing process. The author of the email does not make final EPA decision, and is updating others
                                                                         in the agency about an ongoing process. The email remained internal to EPA and release would discourage employees from writing emails to
                                                                         keep their colleagues aware of ongoing work that eventually leads to more concise agency actions.
                                                                         EX 5 ATTORNEY CLIENT PRIVILEGE Mr. Caplan's email provides both factual information and hypothetical scenarios applied to relevant law and
                                                                         policy. Redacted portions of Mr. Caplan's email contain legal analysis and guidance as related to relevant facts. The attorney is providing advice
                                                                         about ongoing legal matters. Mr. Caplan also discusses ongoing agency strategy and negotiations between EPA and ABC Coke. The emails take
                                                                         place as part of an effort to provide legal advice to the OCR clients. Multiple EPA offices and programs are all involved in the matters discussed
                                                                         by Mr. Caplan and Attorney Client Privilege applies in this situation even where there are multiple clients because each client and EPA employee
                                                                         share a common interest and common need for legal guidance. These emails remain internal to EPA and are shared only among attorneys and
                                                                         their clients. This information and this type of communication must be protected from disclosure to allow for open and frank communication
                                                                         between counsel and client. The email chain speculates about an expected response from ABC Coke. At the time of the email, ABC Coke's
                                                                         response had not been received by the Agency. Mr. Caplan also expresses his expectations for future work to take place if and when EPA
                                                                         receives a response from ABC Coke. Mr. Caplan expresses opinions by saying things like "it is my hope that" and "it is possible that things could
                                                                         begin to move pretty quickly if..." Mr. Caplan also discusses the need for future meetings to discuss ABC Cokes expected correspondence with
_00000405                            GASP                                 h
                                                                         Release   in Fullh‐ the black
                                                                                                  l        l this document
                                                                                                       box on      d        is notf a redaction.
                                                                                                                                        l                                      d
                                                                                                                                                 The black box is part of the original    h
                                                                                                                                                                                       message                     d
                                                                                                                                                                                               and is somehow associated withl
                                                                         the hyperlink above it. The black box does not cover up any text of information. It is original to the email.
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 22 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject             Exemption                                                                 Vaughn Explanation
                 Attachments
_00000406     00000406; 00000409;    requests for hearing with               Released in Full
              00000442; 00000478;    JCBH to contest Major
              00000951; 00003451;    Source Operating
              00003552;              permits
_00000407                                                                    Released in Full
_00000409     00000406; 00000409;    requests for hearing with               Released in Full
              00000442; 00000478;    JCBH to contest Major
              00000951; 00003451;    Source Operating
              00003552;              permits
_00000410     00000410; 00000881;    Privacy Act question (for 5 ACP         The redacted text is in an email string that began when OCR's Senior Advisor to the Director asked an attorney in OGC's Civil Rights and Finance
                                     Dayna re Jefferson                      Law Office (CRFLO) for legal guidance. OGC‐CRFLO attorneys then forwarded the email to an attorney in OGC's Information Law Practice Group
                                     County)                                 (ILPG) for additional input. Portions of the email string are between OGC Attorneys only. All of the redacted correspondence relates to one legal
                                                                             question about that originated in OCR. The email discussion addresses the interplay between the Privacy Act and the Title VI of the Civil Rights
                                                                             Act.

                                                                             EXEMPTION 5 ATTORNEY CLIENT PRIVILEGE The withheld portions of the email string comprise communications between attorneys in the
                                                                             Office of General Counsel and their OCR program clients relating to legal matters‐‐the interplay between the Privacy Act and Title VI complaints,
                                                                             and EPA’s application of FOIA exemptions to records responsive to the FOIA requests. Within the emails, the OCR clients are discussing issues
                                                                             related to the responsive records and requesting advice from the Office of General Counsel attorney‐advisor on how to proceed with FOIA
                                                                             requests. The records contain facts divulged by the clients to their attorneys. The emails are confidential and were only shared with those who
                                                                             had a need‐to‐know.

_00000412     00000412; 00000416; air consultation                           Released in full in Doc ID 00000416
              00000884
_00000416     00000412; 00000416; air consultation                           Released in full in Doc ID 00000416
              00000884
_00000421                         follow‐up research re                      Released in Full
                                  Jefferson County
                                  Department of Health
                                  Title VI Complaint
_00000423     00003495; 00000423; GASP Title VI Admin                        Release in Full
              00000568; 00000596; Complaint Against
              00000908; 00000916; Jefferson County
              00001483; 00001510; Department of Health ‐
              00001797; 00001954; redacted.pdf
              00002060; 00000960
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 23 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                   Subject         Exemption                                                                 Vaughn Explanation
                 Attachments
_00000424                            Civil Rights Complaint               The redacted text on PDF page 209 of 1195 (Doc ID ED_00621_01_00000424‐00007) is part of an email string between OGC, OCR, and Office of
                                     Against Alabama Health               Public Affairs. The emails discuss strategies for responding to a press inquiry.
                                     Department
                                                                          EXEMPTION 5 DELIBERATIVE PROCESS PRIVILEGE. The redacted text is pre‐decisional and deliberative opinion expressed by Jennifer Colaizzi to
                                                                          her Agency colleagues about handling a press inquiry. Ms. Colaizzi expressed her thoughts and shared those thoughts with multiple agency
                                                                          colleagues. The withheld portion does not contain an official agency policy or decision. Ms. Colaizzi shared her opinion with others involved in
                                                                          the decision making process. The redacted text is deliberative because EPA employees and manages were discussing a press inquiry and how to
                                                                          best respond. The record reflects Ms. Colaizzi's analysis of the press inquiry and her agency colleagues were considering and discussing Ms.
                                                                          Colaizzi's opinion. Release would discourage Ms. Colaizzi and other agency employees from engaging in open and frank discussions about the
                                                                          agency's strategies. Release would also have a chilling effect on agency decision‐making processes, and on the Agency's ability to have internal
                                                                          discussion and consultations concerning public messaging. Ms. Colaizzi's opinions were not circulated outside of the Agency.


_00000426     00000426; 00000433; May I come by now?          5 DPP ACP The redacted text is part of an email string between OGC attorneys discussing their legal evaluation of a Title VI Complaint and the interplay of
              00000915; 00000926;                                       Clean Air Act permit. The redacted text is written by an Assistant General Counsel and sent to her staff attorneys. The Assistant GC questions
                                                                        and advises her attorneys. The Assistant GC discusses legal standards used to evaluate Title VI complaints.

                                                                          EXEMPTION 5 ATTORNEY CLIENT PRIVILEGE The withheld portions of the email string comprise communications between attorneys in the
                                                                          Office of General Counsel in preparation for providing legal advice and counsel to their OCR program clients. Within the redacted text, the
                                                                          Assistant GC divulges facts and their application to relevant law. The emails are confidential and were only exchanged between OGC attorneys
                                                                          who had a need‐to‐know.

                                                                          EXEMPTION 5 DELIBERATIVE PROCESS PRIVILEGE The withheld portions of the email string contain pre‐decisional discussions about applying
                                                                          edits to an agency letter responding to a Title VI Complaint. The email discussion occurred before the Agency responded to the Title VI
                                                                          Complaint. The discussion involved strategy, analysis of the title VI Complaint, and professional opinions of agency attorneys. The emails
                                                                          remained internal to the EPA. Release of this communications and others like it may discourage agency employees from having frank discussions
                                                                          and exchanging thoughts, ideas, and analyses prior to any expected agency decision. The agency's decisions would suffer if employees avoid
                                                                          expressing opinions and legal arguments for fear of release.




_00000429                            FYI. Claim that EPA's    5 DPP        EXEMPTION 5 DELIBERATIVE PROCESS PRIVILEGE. The communications in this document occurred prior to EPA's decisions and correspondence
                                     scope of authority                   related to the Title VI Complaints. The text contains discussions and deliberations about how the Agency should proceed in its analysis and
                                     position contradicts                 response to the Title VI Complaint. The email is internal, between agency personnel. Releasing this type of conversation and deliberative
                                     Sandoval.                            discussion would have a chilling effect and make Agency employees less likely to discuss ongoing decision making processes for fear that their
                                                                          opinions and thoughts will be made public.
_00000432     00000432; 00000587;    2015.03.10.DRAFT(2)                  Released in full, 3‐23‐16
              00000927; 00001203;    JCDH Ludder Desk
              00001204; 00001366;    Statement (scp).doc
              00001507;
_00000433     00000426; 00000433;    query about 03R‐15‐R4                See 00000426
              00000915; 00000926;
_00000434     00000434; 00000436;    03R‐15‐R4 Desk                       Released in full, 3‐23‐16
              00001512;00001226;     Statement
              00001231; 00001514;
              00001608
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 24 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject          Exemption                                                                  Vaughn Explanation
                 Attachments
_00000436     00000434; 00000436; 03R‐15‐R4 Desk                          Released in full, 3‐23‐16
              00001512;00001226; Statement
              00001231; 00001514;
              00001608
_00000437                         For Legal Review ‐ EPA                6 EXEMPTION 6 PERSONAL PRIVACY The withheld portions of the email transmission contains a personal cellular phone number of an EPA
                                  File No. 03R‐15‐R4                      employee, the disclosure of which would constitute a clearly unwarranted invasion of personal privacy. The withheld information is within the
                                  Jefferson County                        scope of “personnel and medical files and similar files” because the information applies to and is identified with EPA personnel. There is no
                                  Department of Health                    public interest in the individuals' personal contact information, such as personal cellular phone numbers. The numbers redacted on the basis of
                                                                          Exemption 6 for personal privacy are protected to avoid potential unsolicited communications; the personal privacy interest of the individual in
                                                                          this case, to prevent possible burden of unsolicited telephone calls on a personal, non‐government line. Also, in this instance where the
                                                                          individuals' cellular phone numbers have been withheld, the redaction marks indicate the name of the person to whom the redacted personal
                                                                          cellular phone number belongs. With respect to the personal contact information of Agency employees, the withheld information does not shed
                                                                          light on the employees' performance of official duties. In this instance, the harm to the individual as a result of the disclosure clearly outweighs
                                                                          the public interest in such disclosure.

_00000438                            Hold everything! ‐                   The redacted content of 00001268 is released in full in other documents, such as 00001051. Therefore this document has been released in full.
                                     PLEASE FORWARD TO
                                     COLLETTE IMMEDIATELY

_00000440     00000403; 00000440;    Title VI complaint vs ABC 5 DPP;     See 00000403
              00000445; 00000446;    Coke/Drummond             ACP; 6
              00000447; 00000448;
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00000442     00000406; 00000409;    requests for hearing with            Released in Full
              00000442; 00000478;    JCBH to contest Major
              00000951; 00003451;    Source Operating
              00003552;              permits
_00000443                            Pending Title VI          5 ACP      The redacted text is within an email between two OGC attorneys. The email is redacted under the Attorney Client Privilege within Exemption 5.
                                     Complaint, EPA File No.              Ms. Rhodes provides instruction to Ms. Harrell about working with the Region 4 and OCR clients. The email involves an air permit issued by EPA
                                     03R‐15‐R4                            and the ongoing appeals the decision to issue that permit.

                                                                          EX 5 ATTORNEY CLIENT PRIVILEGE The email is between two EPA OGC attorneys with a third attorney CC'd. The email was sent as part of OGC
                                                                          duty to provide legal counsel to Agency clients. The email discusses standards of applicable law and contains one attorneys guidance to another
                                                                          attorney. This email is redacted because the Attorney Client Privilege exists to protect open and frank communications between counsel about
                                                                          providing legal advice to their client. The email also discusses and analyzes client‐supplied information. The email was not shared with a third
                                                                          party.
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 25 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                   Subject          Exemption                                                                  Vaughn Explanation
                 Attachments
_00000445     00000403; 00000440;    Title VI complaint vs ABC 5 DPP; ACP See Vaughn Entry for 00000403. At PDF page 250, Mr. Caplan introduces the email that he is forwarding to Helena Wooden‐Aguilar, that email
              00000445; 00000446;    Coke/Drummond                        begins "Helena, below is the email I sent to Kim yesterday . . . It might be helpful for our discussion today at noon." The Vaughn explanation for
              00000447; 00000448;                                         Doc ID 00000403 applies to the remaining redacted content on PDF page 250.
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00000446     00000403; 00000440;    Title VI complaint vs ABC 5 DPP &     See Vaughn Entry for 00000403; At PDF page 254, Mr. Caplan introduces the email that he is forwarding to Helena Wooden‐Aguilar, that email
              00000445; 00000446;    Coke/Drummond             ACP         begins "Helena, below is the email I sent to Kim yesterday . . . It might be helpful for our discussion today at noon." The Vaughn explanation for
              00000447; 00000448;                                          Doc ID 00000403 applies to the remaining redacted content on PDF page 254.
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00000447     00000403; 00000440;    Title VI complaint vs ABC 5 ACP       See Vaughn Entry for 00000403; At PDF page 257‐258, Mr. Caplan introduces the email that he is forwarding to Helena Wooden‐Aguilar, that
              00000445; 00000446;    Coke/Drummond                         email begins "Helena, below is the email I sent to Kim yesterday . . . It might be helpful for our discussion today at noon." The Vaughn
              00000447; 00000448;                                          explanation for Doc ID 00000403 applies to the remaining redacted content on PDF page 257‐285.
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00000448     00000403; 00000440;    Title VI complaint vs ABC 5 DPP &     See Vaughn Entry for 00000403; At PDF page 261, Mr. Caplan introduces the email that he is forwarding to Helena Wooden‐Aguilar, that email
              00000445; 00000446;    Coke/Drummond             ACP         begins "Helena, below is the email I sent to Kim yesterday . . . It might be helpful for our discussion today at noon." The Vaughn explanation for
              00000447; 00000448;                                          Doc ID 00000403 applies to the remaining redacted content on PDF page 261.
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00000449     00000403; 00000440;    Title VI complaint vs ABC 5 ACP       See Vaughn Entry for 00000403; At PDF page 264, Mr. Caplan introduces the email that he is forwarding to Helena Wooden‐Aguilar, that email
              00000445; 00000446;    Coke/Drummond                         begins "Helena, below is the email I sent to Kim yesterday . . . It might be helpful for our discussion today at noon." The Vaughn explanation for
              00000447; 00000448;                                          Doc ID 00000403 applies to the remaining redacted content on PDF page 264.
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 26 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                   Subject            Exemption                                                                 Vaughn Explanation
                 Attachments
_00000475     00000403; 00000440; Title VI complaint vs ABC 5 DPP &          See Vaughn Entry for 00000403; At PDF page 268, released in full at PDF page 415.
              00000445; 00000446; Coke/Drummond             ACP
              00000447; 00000448;
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00000476                         Pending Title VI                           Released in Full
                                  Complaint, EPA File No.
                                  03R‐15‐R4
_00000478     00000406; 00000409; requests for hearing with                  Released in Full, 3‐23‐16
              00000442; 00000478; JCBH to contest Major
              00000951; 00003451; Source Operating
              00003552;           permits
_00000479     00000401; 00000479; JCBH's dismissal of                        Released in Full, 3‐23‐16
              00000505            GASP's request for a
                                  hearing re ABC Coke
                                  permit
_00000498                         Pending Title VI                           see 00000443
                                  Complaint, EPA File No.
                                  03R‐15‐R4
_00000500                         Pending Title VI                           Released in Full
                                  Complaint, EPA File No.
                                  03R‐15‐R4
_00000505     00000401; 00000479; JCBH's dismissal of                        Released in Full
_00000508                         Alabama Complaints ‐                       Released in Full, 3‐23‐16
                                  03R‐15‐R4 (JCDH/ABC
                                  Coke) and 08R‐15‐R4
                                  (JCDH/Walter Coke)
_00000513     00000513; 00000949; Canceled: Jefferson                        Released in Full
              00001303; 00001304; County Department of
              00001317; 00001392; Health (JCDH)
              00001393            ABC/Walter Coke
                                  Facilities
_00000522                                                   5 DPP            The redacted document is an internal working draft (other versions of document exist in production, see Doc ID 00001580) ‐

                                                                             EXEMPTION 5 DELIBERATIVE PROCESS ‐ The redacted content intertwines facts from the Title VI Complaint, internal EPA to‐do tasks, and
                                                                             internal EPA opinions. Release of this information would cause confusion to the public. The document is not final and does not contain a final
                                                                             agency decision. The facts taken from the Title VI complaint are indistinguishable from OCR opinions and ideas listed for discussion and
                                                                             consideration.
_00000523                            compliance certifications               Released in Full, 3‐23‐16
                                     for Walter Coke
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 27 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject            Exemption                                                                Vaughn Explanation
                 Attachments
_00000529                            Petition Requesting the                see 00003225, text redacted on ED_00621_01_00000529‐00002 (PDF Page 299) is released in full on ED_00621_01_00003225_00001 (PDF Page
                                     Administrator Object to                1081). The Redacted text on ED_00621_01_00000529‐00001 (PDF Page 298) reads: "Helena: Here are the names of the people I mentioned:
                                     Title V Permit for ABC                 Heather Ceron: Region 4 Air permitting cheif. Beverly Banister: Region 4 APTMD Director. Vera Komylak: QAQPS Title VI permitting section Chief.
                                     Coke Facility (Request                 Keri"
                                     Assistance)

_00000530                            New Title V Petition                   The redacted text reads: "Attached are the files related to the title V petition submitted by GASP regarding Walter Coke. The deadline for the
                                     Received in Region 4 ‐                 petition was Wednesday, December 3, 2014. EPA Region 4 and headquarters received the petition on Monday, December 8, 2014, and
                                     Walter Coke located in                 Wednesday December 10, 2014, respectively. The petition has been deemed "timely" since it was rendered to the USPS on Tuesday, December
                                     North Birmingham                       2, 2014 (see attached proof)" Appendices G and G2 are too large to attach. Will try to place on SharePoint."
                                     (Jefferson County), AL
_00000531                                                                   Released in Full ‐ Petition Publicly Available at http://www.epa.gov/sites/production/files/2015‐08/documents/walter_petition2014.pdf

_00000544                            Newest Petitions                       Incorrect Redaction, redacted text reads "Here's The ABC Coke petition"
                                     Received by Region 4
_00000555                            Your Request Regarding                 Released in Full
                                     EPA Title VI Complaint #
                                     03R‐15‐R4 (Jefferson
                                     County Department of
                                     Health)

_00000568     00003495; 00000423;    GASP Title VI Admin                    Released in Full
              00000568; 00000596;    Complaint Against
              00000908; 00000916;    Jefferson County
              00001483; 00001510;    Department of Health ‐
              00001797; 00001954;    redacted.pdf
              00002060; 00000960
_00000582                         Ludder Complaints ‐                       Released in Full
                                  Press
_00000587     00000432; 00000587; 2015.03.10.DRAFT(2)                       Released in Full, 3‐23‐16
              00000927; 00001203; JCDH Ludder Desk
              00001204; 00001366; Statement (URGENT)
              00001507;
_00000593                         EPA File No.                              Released in Full
_00000596     00003495; 00000423; GASP Title VI Admin                       Released in Full
              00000568; 00000596; Complaint Against
              00000908; 00000916; Jefferson County
              00001483; 00001510; Department of Health ‐
              00001797; 00001954; redacted.pdf
              00002060; 00000960
_00000599                         EPA File 03R‐15‐R4                        Released in Full
                                                Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 28 of 58
                                                              Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject          Exemption                                                                 Vaughn Explanation
                 Attachments
_00000600     00000600; 00000931;                                         Released in Full
                00000933;
              00001033; 00001249;
              00001613 00001629;
              00001633; 00001635;
              00001637; 00001638;

_00000618                            Acknowledgement Letter               Released in Full

_00000622     00000622; 00001496;    Ludder Complaint and                 Released in Full
              00001753; 00001758;    Acceptance Ltr (ABC) &
              00002662; 00002699;    Ludder Complaint
              00003215; 00003852;    (Walter)
              00003919
_00000624     00000624; 00001029;                                         Released in Full
              00001612; 00001628
_00000626     n/a                 Favor re David Ludder                   Released in Full, 3‐23‐16
                                  Information
_00000643     00000643; 00000646; Ludder Complaint            5 DPP;      Most of this email exchange (unredacted) is the same as those with the subject "Ludder Complaint Meeting." A new email thread is added at the
              00001506; 00001562 Meeting and Feedback                     first page and contains feedback from an OCR supervisor to her employee. The feedback addresses the handling of the Title VI complaint. The
                                                                          supervisor gives instruction as to how the employee should conduct himself and provides reasoning. This "feedback" provided the supervisors
                                                                          present sense impressiongs on how OCR should handle the Titlte VI complaint. Specifically, the supervisor is discussing who to contact about the
                                                                          complaint and when to contact them. EXEMPTION 5 DELIBERATIVE PROCESS ‐ The discussion was not a final decision, but rather advice and
                                                                          guidance. The subject matter relates to the Agency's decision making process on Title VI complaints. Without these types of discussions and
                                                                          instructions, the Agency cannot conduct its full process for responding to a Title VI Compplaint. The Employee was asked to take the feedback
                                                                          and it seems as though the feedback applies to the employees handling of future duties too. The conversation relates to all of the employees
                                                                          work and the employees work directly relates to Agency decisions on Title VI complaints. The email chain is predecisional because it relates to
                                                                          ongoing and future decisionmaking by OCR and the Agency. It is deliberative because it is part of a back and forth discussion and follows up on a
                                                                          meeting that was alos deliberative. Releasing this type of information would not benefit the public, instead, it may keep agency supervisors from
                                                                          candidly expressing their professional judgement. This type of converation is common, remains internal to EPA, and is necessary for the Agency
                                                                          to undertake proper decsion making.


_00000644     00000644; 00000652;                                         Released in Full, 3‐23‐16
              00000690; 00003104
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 29 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                   Subject           Exemption                                                                  Vaughn Explanation
                 Attachments
_00000646     00000643; 00000646; Ludder Complaint              5 DPP; 6     The redactions are made to an email exchange between EPA employees in OGC and OCR and an offshoot of the email is between two OGC
              00001506; 00001562 Meeting                                     attorneys. The EXEMPTION 6 redactions removes an EPA employee's personal travel plans. The plans are wholly unrelated to EPA, the Title VI
                                                                             Complaints, and this FOIA request. The redacted content is similar to personnel and medical files because they relate directly to one person and
                                                                             reveal unique information about that person. The requester and the public have no reasonable interest in an EPA employee's personal travel
                                                                             plans. There is no public benefit of releasing this information. The redacted content does not shed any light on EPA's function or anything about
                                                                             the U.S. Government's actions.

                                                                             EXEMPTION 5 DELIBERATIVE PROCESS PRIVILEGE. The redaction removes email conversation about pending actions related to the Title VI
                                                                             Complaints. The EPA employees are communicating about consideration factors for an ongoing decision making process. At the time the email
                                                                             was sent, no decisions had been made. The email is a type of brainstorm exercise between employees. The employees share their opinions and
                                                                             questions with each other to aid in their decision making process. The email exchanged remained internal to the EPA. Releasing this type of
                                                                             information would be harmful to the normal course of business and the necessary collaborative work performed by Agency employees as they
                                                                             prepare for Agency actions. One portion of the redacted content includes a manager's instruction and advice to the lower level attorney on how
                                                                             to work with other EPA offices and programs when exchanging ideas during a deliberative process. The manager's advice is intended to help the
                                                                             lower level attorney through her back and forth exchange of ideas and opinions. All of the emails were exchanged at a time leading up to Agency
                                                                             actions and all of the emails remained internal to EPA. [the document's redactions marks incorrectly list Attorney Client Privilege. This
                                                                             document is redacted pursuant to Ex. 5's DPP]

_00000650                         EPA File No. 03R‐15‐R4                     Released in Full
_00000652     00000644; 00000652; follow up on Title VI                      Released in Full
              00000690; 00003104 complaints
_00000655                         EPA File No. 03R‐15‐R4                     Release in Full
                                  and EPA File No. 08R‐15‐
                                  R4
_00000657                         EPA File No. 03R‐15‐R4                     Release in Full
                                  and EPA File No. 08R‐15‐
                                  R4
_00000659                         EPA File No.                               Released in Full
_00000662     00000662; 00000664 JCDH PIP                                  6 EXEMPTION 6 Personal Privacy. The Ex. 6 redactions protect an EPA employee's personal email addresses. In order to review the Preliminary
                                                                             Investigation plan from home, the employee forwarded the attachment to a personal email address. An employee's personal email address is
                                                                             unrelated to the Agency's function and unrelated to the underlying FOIA request. The remaining non‐exempt content of the email is released
                                                                             and allows the requester and the public to fully understand the email. The employee's privacy interest outweigh any public interest in the
                                                                             employee's personal, non‐governmental, email address. Releasing EPA employee's personal email addresses could lead to unsolicited and
                                                                             unwarranted correspondence. Additionally, the employee's name is released in the FROM line and the email signature to allow the requester
                                                                             and the public to identify the employee without disclosing the employee's personal email address. The employee's EPA email address is released
                                                                             in full.
_00000667                            JR: 03R‐15‐R4 (jefferson                Released in Full
                                     County Department of
                                     Health)

_00000668     00000668; 00000669; Brooksville to move                        Released with non‐responsive redactions.
              00000670; 00001039; forward with
              00001624; 00001625 environmental
                                  assessments of three
                                  Brownfields sites |
                                  Tampa Bay Tim
                                               Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 30 of 58
                                                             Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                 Subject        Exemption                                               Vaughn Explanation
                 Attachments
_00000669     00000668; 00000669; Brooksville to move                   Released with non‐responsive redactions.
              00000670; 00001039; forward with
              00001624; 00001625 environmental
                                  assessments of three
                                  Brownfields sites |
                                  Tampa Bay Tim
_00000670     00000668; 00000669; Brooksville to move                   Released with non‐responsive redactions.
              00000670; 00001039; forward with
              00001624; 00001625 environmental
                                  assessments of three
                                  Brownfields sites |
                                  Tampa Bay Tim
_00000674                         Jefferson County                      Released in Full
                                  Department of Health
                                  Title VI Complaint
_00000675                         Jefferson County                      Released in Full
                                  Department of Health
                                  Title VI Complaint
_00000676                         Jefferson County                      Released in Full
                                  Department of Health
                                  Title VI Complaint
_00000678                         FOIA Assignment for EPA‐              Released in Full
                                  HQ‐2015‐006350
_00000679                         FOIA Assignment for EPA‐              Released in Full
                                  HQ‐2015‐004930
_00000684                         Complaint No. 03R‐15‐                 Released in Full
                                  R4; Response of Jefferson
                                  County Department of
                                  Health
_00000687     00000403; 00000440; Title VI complaint vs ABC 5 DPP ACP   See Vaughn Entry for 00000403
              00000445; 00000446; Coke/Drummond
              00000447; 00000448;
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00000688                         Documents for Region 4                Released in Full

_00000690     00000644; 00000652; follow up on Title VI                 Released in Full, 3‐23‐16
              00000690; 00003104 complaints
_00000691                                                               Released in Full
_00000708                                                               Released in Full
_00000710                                                               Released in Full
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 31 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                   Subject            Exemption                                                                Vaughn Explanation
                 Attachments
_00000853                            ABC Coke Complaint                      This document contains a status update of an ongonig and pending administrative review and relates to pending litigation. EXEMPTION 5 DPP ‐
                                     Pending Administrative                  The agency creates this type of documen to use in its decision making processes. These documents are used to inform colleagues and
                                     Reviews (Pending                        supervisors about pending decision making actions. Nothing in this document has been finalized. It is an update and contains opinions of
                                     litigation)                             individual employees and does not reflect an Agency final decsion or action. In order to make decisions and have deliberatiosn, the Agency uses
                                                                             this type of document. This document is also used to keep track of the status of multiple different aspects and events that occur during a
                                                                             decision making process. For example, thsi document provides the personal opinion of some of the first AGency employees to review the
                                                                             petition. After providing an employee's opinion, the document states "Keri says her prediction may be incorrect." This is a perfect example of
                                                                             why this type of informatino cannot be made public. Release could cause great confusion if one of the contributors admits that its content might
                                                                             be incorrect. The current status in this document may be entirely different than the Agency's ultimate decision. Accordingly, the document is
                                                                             predecisional. It is used in EPA's deliberative decsion making process. It remained internal to EPA, and its release would prevent the AGency
                                                                             from being able to track the status of its work.

_00000855                                                                This document relates directly to Doc ID 0000855 and its redactions are made for the same reasons.
_00000859     00000403; 00000440;    Title VI complaint vs ABC 5 DPP ACP See Vaughn Entry for 00000403;
              00000445; 00000446;    Coke/Drummond
              00000447; 00000448;
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00000861     00000403; 00000440;    Title VI complaint vs ABC 5 DPP         See Vaughn Entry for 00000403;
              00000445; 00000446;    Coke/Drummond
              00000447; 00000448;
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00000863                            compliance certifications               Released in Full
                                     for Walter Coke
                                               Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 32 of 58
                                                             Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                 Subject          Exemption                                                                  Vaughn Explanation
                 Attachments
_00000873     00000873; 00001505; draft email for Dayna ‐‐   5 ACP &     The document is an email exchange between OGC attorneys Julia Rhodes and Collette Harrell. The exempt content is subject to the Attorney‐
                                  edit away please!          DPP         Client Privilege and the Deliberative Process Privilege.

                                                                         DELIBERATIVE PROCESS PRIVILEGE. The redacted content is an email written by Julia Rhodes, an attorney senior to Collette Harrell. The email
                                                                         addresses multiple ongoing issues that were not resolved at the time of the email. Those issues include the privacy interests of Title VI
                                                                         Complainants, applicable System of Records Notices (SORNs), and future communications with Title VI complainants, recipients, and FOIA
                                                                         requesters. The email is a type of ongoing discussion. Julia Rhodes provides her analysis and opinions of the matters mentioned above, and then
                                                                         asks for Collette Harrell's feedback. The email was sent prior to any decisions being made on the topics of discussion. The discussion was
                                                                         deliberative in nature and remained within the Agency. Release of this type of email communication could seriously reduce the number of
                                                                         candid conversations between agency employees. Release could lead to employees fearing that their every thought will be made public, even if
                                                                         those thoughts are spontaneous or part of a group decision process.

                                                                         ATTORNEY‐CLIENT PRIVILEGE the withheld email content is discussion between two attorneys that discussing the legal advice and counsel they
                                                                         will ultimately provide to their OCR clients. The email discusses the FOIA, related EPA regulations, and the privacy interests of complainants. The
                                                                         attorneys are conducting an analysis of legal standards used to respond to Title VI Complaints and requests for records related to title VI
                                                                         Complaints. Other withheld documents include further communication between the attorneys and their clients.


_00000881     00000410; 00000881; Privacy Act question (for 5 DPP        See Vaughn Entry for 00000410
                                  Dayna re Jefferson
                                  County)
_00000884     00000412; 00000416; air consultation                       Released in Full in Doc ID 00000416
              00000884
_00000907     00000421; 0000907 follow‐up research re       5 DPP        Reeleased in Full, see Doc ID 00000421
                                  Jefferson County
                                  Department of Health
                                  Title VI Complaint
_00000908     00003495; 00000423; GASP Title VI Admin                    Released in Full
              00000568; 00000596; Complaint Against
              00000908; 00000916; Jefferson County
              00001483; 00001510; Department of Health ‐
              00001797; 00001954; redacted.pdf
              00002060; 00000960
_00000915     00000426; 00000433; query about 03R‐15‐R4                  See 00000426
              00000915; 00000926
_00000916     00003495; 00000423; GASP Title VI Admin                    Released in Full
              00000568; 00000596; Complaint Against
              00000908; 00000916; Jefferson County
              00001483; 00001510; Department of Health ‐
              00001797; 00001954; redacted.pdf
              00002060; 00000960
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 33 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                   Subject         Exemption                                                                 Vaughn Explanation
                 Attachments
_00000919     00000204; 00000421;    Jefferson County                     Redaction in error, redacted content is released in multiple other documents including 00000204
              00000438; 00000674;    Department of Health
              00000675; 00000907;    Title VI Complaint
              00000919; 00000942;
              00000948; 00001049;
              00001051;
_00000926     00000426; 00000433;    May I come by now?                   See 00000426
              00000915; 00000926
_00000927     00000432; 00000587;    2015.03.10.DRAFT(2)                  See released threads.
              00000927; 00001203;    JCDH Ludder Desk
              00001204; 00001366;    Statement (URGENT)
              00001507;
_00000929                            JCDH Question                        Released in Full
_00000931     00000600; 00000931;                                         Released in Full
                00000933;
              00001033; 00001249;
              00001613 00001629;
              00001633; 00001635;
              00001637; 00001638;

_00000932                            Draft recipients         5 DPP       The redacted document is a discussion about making edits to a draft document that had not been finalized at the time of the email exchange.
                                     acceptance letter for                The author of the email is providing her opinion about edits and comments that others made to the draft letter at an earlier review stage. An
                                     your review                          OCR manager wanted certain changes to the letter, and the attorneys on this email are discussing those changes. The email is a deliberative
                                                                          discussion between two agency employees. The employees are giving their opinions and sharing the results of their research in an effort to
                                                                          reach a conclusive end to the editing and review process. The email remained internal to the EPA. Release would discourage honest and frank
                                                                          discussions between Agency employees. Without these honest and frank discussions, the Agency's decision making processes would be far less
                                                                          thorough because the employees may fear expressing their opinion if those opinions are made public.

_00000933     00000600; 00000931;                                         Released in Full
                00000933;
              00001033; 00001249;
              00001613 00001629;
              00001633; 00001635;
              00001637; 00001638;

_00000934     00000437; 00000979;    For Legal Review ‐ EPA   5 DPP       This email is an exchange about a draft document. The redacted text includes a summary of feedback from multiple employees and privdes that
              00001042; 00001046;    File No. 03R‐15‐R4                   feedback to another EPA employee. The feedback is about an official Agency letter that had yet to be sent. EX. 5 DPP ‐ Writing an official Agency
              00001257; 00001617;    Jefferson County                     letter takes input from multiple employees. This email summarizes the input from those contributors. Just like edits to a document in progress,
              00001618; 00001630;    Department of Health                 this email is part of the fine tuning process. THe document was created before the letter was final. The document summarizes multiple
              00001631; 00001632;                                         deliberative opinions and comments. The email remained internal to the Agency, and release outside of the agency may discourage employees
              00001634; 00001636;                                         from sharing their professional opinons. Release may also confuse the public because the thoughts and ideas in the email may not be
              00001961; 00000934                                          incorporated into the final letter.
_00000942                            Hold everything! ‐                   Redaction in error, redacted content of 00001268 is released in full in other documents, such as 00001051.
                                     PLEASE FORWARD TO
                                     COLLETTE IMMEDIATELY
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 34 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject             Exemption                                                                Vaughn Explanation
                 Attachments
_00000944                            legal research re ISO                   Released in Full, 3‐23‐16
                                     pending case
_00000948                            Jefferson County                        Released in full, see Doc ID 00000421
                                     Department of Health
                                     Title VI Complaint
_00000949     00000513; 00000949;    Jefferson County                        Redaction in error, redacted content released in full in Doc ID00001392
              00001303; 00001304;    Department of Health
              00001317; 00001392     (JCDH) ABC/Walter Coke
                                     Facilities
_00000951     00000406; 00000409;    requests for hearing with               Released in Full, 3‐23‐16
              00000442; 00000478;    JCBH to contest Major
              00000951; 00003451;    Source Operating
              00003552;              permits
_00000952                            Meeting                                 Released in Full
_00000955                            Title VI complaint vs ABC               see doc ID 00000403
                                     Coke/Drummond
_00000960     00003495; 00000423;    GASP Title VI Admin                     Released in Full, 3‐23‐16
              00000568; 00000596;    Complaint Against
              00000908; 00000916;    Jefferson County
              00001483; 00001510;    Department of Health ‐
              00001797; 00001954;    redacted.pdf
              00002060; 00000960
_00000979     00000437; 00000979;    For Legal Review ‐ EPA                  Released in Full
              00001042; 00001046;    File No. 03R‐15‐R4
              00001257; 00001617;    Jefferson County
              00001618; 00001630;    Department of Health
              00001631; 00001632;
              00001634; 00001636;
              00001961; 00000934
_00001005                         Could you please send                      Released in Full
                                  Sam the 90 day plan?
_00001011                         Coke Complaints                            Released in Full, 3‐23‐16
_00001012                         Pending Title VI                           Released in Full
                                  Complaint, EPA File No.
                                  03R‐15‐R4
_00001018                         EPA File No. 03R‐15‐R4                     Released in Full
                                  and EPA File No. 08R‐15‐
                                  R4
_00001020     00001020; 00001021; Call from Tao Simpson on                   See Doc ID 00001209 & 00001596, released in full.
              00001025; 00001026; Friday, March 6th
              00001209; 00001596;
              00001601; 00001603
_00001021     00001020; 00001021; Call from Tao Simpson on                   See Doc ID 00001209 & 00001596, released in full.
              00001025; 00001026; Friday, March 6th
              00001209; 00001596;
              00001601; 00001603
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 35 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject            Exemption                                                                Vaughn Explanation
                 Attachments
_00001025     00001020; 00001021;    Call from Tao Simpson on               See Doc ID 00001209 & 00001596, released in full.
              00001025; 00001026;    Friday, March 6th
              00001209; 00001596;
              00001601; 00001603
_00001026     00001020; 00001021;    Call from Tao Simpson on               See Doc ID 00001209 & 00001596, released in full.
              00001025; 00001026;    Friday, March 6th
              00001209; 00001596;
              00001601; 00001603
_00001027                                                                   Released in Full
_00001028                            Response to EPA File No.               Released in Full
                                     03R‐15‐R4
_00001029     00000624; 00001029;                                           Released in Full
              00001612; 00001628
_00001033     00000600; 00000931;                                           Released in Full
                00000933;
              00001033; 00001249;
              00001613 00001629;
              00001633; 00001635;
              00001637; 00001638;

_00001039     00000668; 00000669; Brooksville to move                       See doc ID 00001624
              00000670; 00001039; forward with
              00001624; 00001625 environmental
                                  assessments of three
                                  Brownfields sites |
                                  Tampa Bay Tim
_00001042     00000437; 00000979; For Legal Review ‐ EPA                    Released in Full
              00001042; 00001046; File No. 03R‐15‐R4
              00001257; 00001617; Jefferson County
              00001618; 00001630; Department of Health
              00001631; 00001632;
              00001634; 00001636;
              00001961; 00000934
_00001046     00000437; 00000979; For Legal Review ‐ EPA                    Released in Full
              00001042; 00001046; File No. 03R‐15‐R4
              00001257; 00001617; Jefferson County
              00001618; 00001630; Department of Health
              00001631; 00001632;
              00001634; 00001636;
              00001961; 00000934
_00001049     00000907; 00000919; Hold everything! ‐                        Redaction in error, redacted content of 00001268 is released in full in other documents, such as 00001051.
              00000942; 00000948; PLEASE FORWARD TO
              00001049; 00001051; COLLETTE IMMEDIATELY
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 36 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject            Exemption                                  Vaughn Explanation
                 Attachments
_00001050     00001050; 00001059;    Jefferson County                       Released in Full, 3‐23‐16
              00001377; 00001378;    Department of Health
              00001639               Title VI Complaint
_00001051     00000907; 00000919;    Hold everything!                       Released in Full, 3‐23‐16
              00000942; 00000948;
              00001049; 00001051;
_00001058                         Jefferson County                          Released in Full, 3‐23‐16
                                  Department of Health
                                  Title VI Complaint
_00001059     00001050; 00001059; Jefferson County                          Released in Full
              00001377; 00001378; Department of Health
              00001639            Title VI Complaint
_00001060     N/A                 2015.02.09. Notific. to                   Released in Full
                                  Recipient.doc
_00001061     00001061; 00001622                                            Released in Full
_00001063     N/A                 2015.02.09. Notific. to                   Released in Full, 3‐23‐16
                                  Complainant. .doc
_00001064     00001064; 00001621;                                           Release in Full
              00001640
_00001066     00001066; 00001070 03R‐15‐R4 Jefferson                        Released in Full
                                  County Department of
                                  Health
_00001070     00001066; 00001070 03R‐15‐R4 Jefferson                        Released in Full
                                  County Department of
                                  Health
_00001075                         DRAFT Acceptance Letter                   Released in Full
                                  ‐ Jefferson County
                                  Department of Health

_00001078                            EPA File No.                           Released in Full, 3‐23‐16
_00001080                            EPA File No.                           Released in Full
_00001090                            Response to Tal Simpson                Released in Full

_00001091                            Your Request Regarding                 Released in Full
                                     EPA Title VI Complaint #
                                     03R‐15‐R4 (Jefferson
                                     County Department of
                                     Health)

_00001092                            Alabama Complaints ‐                   See Doc ID 00000508
                                     03R‐15‐R4 (JCDH/ABC
                                     Coke) and 08R‐15‐R4
                                     (JCDH/Walter Coke)
_00001097                            Coke Complaints                        Released in Full
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 37 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject            Exemption                                                                 Vaughn Explanation
                 Attachments
_00001203     00000432; 00000587;    2015.03.10.DRAFT(2)                    See released threads.
              00000927; 00001203;    JCDH Ludder Desk
              00001204; 00001366;    Statement (URGENT)
              00001507;
_00001204     00000432; 00000587;    2015.03.10.DRAFT(2)                    See released threads.
              00000927; 00001203;    JCDH Ludder Desk
              00001204; 00001366;    Statement (URGENT)
              00001507;
_00001209     00001020; 00001021;    Call from Tao Simpson on               Released in Full
              00001025; 00001209;    Friday, March 6th
              00001596; 00001601;
              00001603
_00001213     00001213; 00001229;                                           see doc Id 00001605
              00001605
_00001223                         Response to EPA File No.                  Released in Full
                                  03R‐15‐R4
_00001226     00000434; 00000436; 03R‐15‐R4 Desk           Ex 5 DPP         String of e‐mails transmitting a draft desk statement regarding the Title VI complaint.
              00001512;00001226; Statement                                  EXEMPTION 5 DELIBERATIVE PROCESS: The withheld portions of the email string are pre‐decisional deliberations between EPA employees and
              00001231; 00001514;                                           an EPA attorney concerning a draft press release regarding the Title VI complaint. At the time the emails were sent, the Agency had not yet
              00001608                                                      issued a final version of the press release. These EPA employees were discussing their forthcoming response to the Title VI complaint and
                                                                            related inquiries. The attachment is a draft desk statement dated March 9, 2015 concerning the Title VI complaint.

                                                                            The withheld information is deliberative because EPA employees and managers were coordinating the Agency’s response to the Title VI
                                                                            complaint. The employees were also discussing the appropriate language for the press release. Additionally, the email contains an employee's
                                                                            request for advice and questions to his/her supervisors about properly responding to external inquiries about the Title VI complaint. The entire
                                                                            email string remains internal to the Agency.


_00001229     00001213; 00001229;                                           see doc Id 00001605
              00001605
_00001231     00000434; 00000436; 03R‐15‐R4 Desk                            Released in Full
              00001512;00001226; Statement
              00001231; 00001514;
              00001608
_00001249     00000600; 00000931;                                           Released in Full
                00000933;
              00001033; 00001249;
              00001613 00001629;
              00001633; 00001635;
              00001637; 00001638;

_00001254                            Petition Requesting the                Released in Full
                                     Administrator Object to
                                     Title V Permit for ABC
                                     Coke Facility
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 38 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject          Exemption                                                                  Vaughn Explanation
                 Attachments
_00001257     00000437; 00000979;    For Legal Review ‐ EPA               Released in Full
              00001042; 00001046;    File No. 03R‐15‐R4
              00001257; 00001617;    Jefferson County
              00001618; 00001630;    Department of Health
              00001631; 00001632;
              00001634; 00001636;
              00001961; 00000934
_00001262                                                     5 DPP       See 00000207

_00001264                                                                 Released in Full
_00001267                        JR 03R‐15‐R4 Jefferson                   Released in Full
                                 County Department of
                                 Health
_00001268     00001268; 00001375 Hold everything!                         Redaction in error, redacted content of 00001268 is released in full in other documents, such as 00001051.
_00001271     alan                                            7c; 6       Copy of the Title VI complaint with personal information redacted

                                                                          EXEMPTION 6: The redactions prevent disclosure of names and home addresses of private citizens. Disclosure of these names, addresses and
                                                                          phone numbers would constitute a clearly unwarranted invasion of personal privacy. The withheld information is within the scope of “personnel
                                                                          and medical files and similar files” because the information applies to and is identified with private citizens. There is no public interest in the
                                                                          individuals' personal contact information, such as full names and home addresses. The names and addresses redacted on the basis of Exemption
                                                                          6 for personal privacy are protected to avoid potential unsolicited communications or intimidation related to the Title VI Complaint; to prevent
                                                                          possible burden of unsolicited mailings and visitors at a private residence. Also, in this instance where the individuals' names and addresses have
                                                                          been withheld, the redactions do not cover the city, state, and zip code. In this instance, the harm to the individual as a result of the disclosure
                                                                          clearly outweighs the public interest in such disclosure.

                                                                          EXEMPTION 7(c): Exemption 7(c) is used to redact the names, addresses and telephone numbers of the Title VI complainants. OCR is required to
                                                                          enforce the civil rights laws. The requested Title VI complaints are law enforcement records that pertain specifically to private citizens. EPA
                                                                          relies on private citizens to submit information and allegations that assist the Agency in enforcing the non‐discrimination statutes. The names
                                                                          and personal contact information of private citizen complainants does not relate to any official information about EPA or any government
                                                                          agency. Instead, release of such information is an invasion of citizens’ privacy. If their information is disclosed and made available to the
                                                                          requester and general public, the complainants could be subject to harassment or intimidation and in turn compromise the investigation.
                                                                          Furthermore, others subject to violation of non‐discrimination laws may be fearful of filing a complaint if EPA releases complainants’ names,
                                                                          home addresses and phone numbers to the public.




_00001282     00001282; 00001384; Jefferson County            5 DPP       String of e‐mails between OCR personnel and OGC attorney concerning handling of the Title VI complaint. Portions of two e‐mails have been
              00001529            Department of Health                    withheld as deliberative.
                                  Title VI Complaint
                                                                          EXEMPTION 5 DELIBERATIVE PROCESS: The withheld portions of the email string contain pre‐decisional deliberations related to the handling of
                                                                          the Title VI complaint. At the time the emails were sent, the EPA employees were discussing their forthcoming response to the Title VI
                                                                          complaint and related inquiries.

                                                                          The withheld information is deliberative because EPA employees and attorneys were discussing and coordinating the Agency’s response to the
                                                                          Title VI complaint. The entire email string remains internal to the Agency
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                                                            Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                Subject         Exemption                                                                 Vaughn Explanation
                 Attachments
_00001295     00000403; 00000440; Title VI complaint vs ABC 5 DPP &    See Vaughn Entry for 00000403; PDF Page 658, Released in full on 3‐23‐16
              00000445; 00000446; Coke/Drummond             ACP
              00000447; 00000448;
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00001298                         Jefferson County          5 DPP      E‐mail from Dayna Bowen Matthew, Senior Advisor to the Director, Office of Civil Rights, to Sam Peterson, Office of Civil Rights discussing the
                                  Department of Health                 Title VI petition and investigation.
                                  (JCDH)
                                                                       The withheld portions of this document discuss next steps as well as specific inquiries related to the Title VI complaint and investigation. The
                                                                       author of the email begins by saying "This records my notes from the very helpful conversation you, Katsumi, and I had regarding this case this
                                                                       morning. " The remaining portions fall under EXEMPTION 5's DELIBERATIVE PROCESS: The withheld portions of the email string are pre‐
                                                                       decisional deliberations between EPA employees concerning handling of the Title VI complaint. At the time the emails were sent, the Agency
                                                                       was contemplating their possible responses to the Title VI complaint as well as discussing options for the next steps to be taken.

                                                                       The withheld information is deliberative because EPA employees and managers were coordinating the Agency’s response to the Title VI
                                                                       complaint and investigation. The email is akin to hand written meeting notes or personal contemplative thoughts and plans. Planning and
                                                                       contemplating are frequently essential parts of a deliberative process. The entire email string remains internal to the Agency.


_00001300     00001300; 00001394; Jefferson County                     Released in Full, see 00002623
              00002623;           Department of Health
                                  (JCDH) Investigation
                                  Management Team
                                  Meeting
_00001303     00000513; 00000949; Canceled: Jefferson                  Identical content released in full in Doc ID 00000513 (PDF Page 292)
              00001303; 00001304; County Department of
              00001317; 00001392; Health (JCDH)
              00001393            ABC/Walter Coke
                                  Facilities
_00001304     00000513; 00000949; Jefferson County                     Redaction in error, redacted content released in full in Doc ID00001392
              00001303; 00001304; Department of Health
              00001317; 00001392 (JCDH) ABC/Walter Coke
                                  Facilities
_00001305                         Jefferson County      5 DPP          Released in Full
                                  Department of Health
                                  (JCDH) Investigation
                                  Management Team
                                  Meeting
_00001317     00000513; 00000949; Jefferson County                     Redaction in error, redacted content released in full in Doc ID00001392
              00001303; 00001304; Department of Health
              00001317; 00001392 (JCDH) ABC/Walter Coke
                                  Facilities
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 40 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject           Exemption                                                                  Vaughn Explanation
                 Attachments
_00001353     alan                   Welcome Back              5 DPP       E‐mail from Dayna Bowen Matthew, Senior Advisor to the Director, Office of Civil Rights to Velveta Golightly‐Howell, Director, Office of Civil
                                                                           Rights,

                                                                           The e‐mail discusses seven items for discussion. In addition to being deliberative, six of the items are non‐responsive and have nothing to do
                                                                           with the subject of Plaintiff’s request. One of them discusses the Title VI complaint.

                                                                           EXEMPTION 5 DELIBERATIVE PROCESS: The withheld portions of the email string are pre‐decisional deliberations between EPA employees
                                                                           concerning handling of the Title VI complaint. At the time the emails were sent, the Agency was contemplating their possible responses to the
                                                                           Title VI complaint as well as discussing options for the next steps to be taken.

                                                                           The withheld information is deliberative because EPA employees and managers were coordinating the Agency’s response to the Title VI
                                                                           complaint and investigation. The entire email string remains internal to the Agency.
_00001354     00001354; 00001570; 2015‐03‐03 EPA ‐ GASP 5 DPP              E‐mail string concerning Title VI Administrative Complaint Against Jefferson County Department of Health discussing issues related to the
              00001573; 00001579 Title VI Admin Complaint                  location of certain facilities.
                                  Against Jefferson County
                                  Department of Health                     EXEMPTION 5 DELIBERATIVE PROCESS: The withheld portions of the email string are pre‐decisional deliberations between EPA employees
                                                                           concerning facilities related to the Title VI complaint.. At the time the emails were sent, the Agency was contemplating their possible responses
                                                                           to the Title VI complaint as well as discussing options for the next steps to be taken.

                                                                           The withheld information is deliberative because EPA employees and managers were coordinating the Agency’s response to the Title VI
                                                                           complaint and investigation. The entire email string remains internal to the Agency.
_00001355                                                                  Released in Full
_00001356                                                                  Released in Full
_00001357                                                                  Released in Full
_00001366     00000432; 00000587;    2015.03.10.DRAFT(2)                   Released in Full, 3‐23‐16
              00000927; 00001203;    JCDH Ludder Desk
              00001204; 00001366;    Statement (scp).doc
              00001507;
_00001370     00000432; 00000587;    For Legal Review ‐ EPA                Release in Full
              00000927; 00001203;    File No. 03R‐15‐R4
              00001204; 00001366;    Jefferson County
              00001370; 00001507;    Department of Health
              00001600
_00001373     UR                     (New AL Complaint) ‐FYI               Released in Full

_00001374     UR                     (New AL Complaint) ‐FYI               Released in Full

_00001375     00001268; 00001375 URGENT ‐ Please Read                      redacted content of 00001375 is released in other documents, such as 0000438.
                                  (Ludder Complaint)
_00001377     00001050; 00001059; Jefferson County                         Released in Full
              00001377; 00001378; Department of Health
              00001639            Title VI Complaint
_00001378     00001050; 00001059; Jefferson County                         Released in Full
              00001377; 00001378; Department of Health
              00001639            Title VI Complaint
                                                Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 41 of 58
                                                              Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject            Exemption                                                                 Vaughn Explanation
                 Attachments
_00001384     00001282; 00001384; Jefferson County              5 DPP       See Vaughn Entry for Doc ID 00001282
              00001529            Department of Health
                                  Title VI Complaint
_00001385     00001385; 00002023 Jefferson County               5 DPP       Exemption 5 ‐ Deliberative Process Privilege
                                  Department of Health
                                  Title VI Complaint                        The withheld information in the email communication is protected under Exemption 5's deliberative process privilege because it is an internal
                                                                            conversation which reflects staffing and staff resources necessary to process the complaint and perform related matters. The withheld
                                                                            information does not represent an official Agency decision or policy and instead reflects an uncertainty on issues still in development at the
                                                                            Agency. The withheld records are pre‐decisional because they contain issues contemplated by EPA staff that would potentially be affected the
                                                                            forthcoming decision marking process.

                                                                            All reasonably segregable and factual information within this email exchange has been released to Plaintiff. There is no remaining segregable
                                                                            information within the redacted portions of this email exchange.
_00001392     00000513; 00000949; Jefferson County                          Redaction in error, redacted content released in full in Doc ID00001392
              00001303; 00001304; Department of Health
              00001317; 00001392 (JCDH) ABC/Walter Coke
                                  Facilities
_00001393     00000513; 00000949; Canceled: Jefferson                       Released in Full
              00001303; 00001304; County Department of
              00001317; 00001392; Health (JCDH)
              00001393            ABC/Walter Coke
                                  Facilities
_00001394     00001300; 00001394; Jefferson County                          Released in full, see 00002623
              00002623;           Department of Health
                                  (JCDH) Investigation
                                  Management Team
                                  Meeting
_00001451     00001451; 00001452; Cases to Discuss (RED to                  See Doc ID 00001451 for correct redactions.
              00001490; 00002033 OGC and Yellow for OCR
                                  to finish)
_00001452     00001451; 00001452; Cases to Discuss (RED to                  See Doc ID 00001451 for correct redactions.
              00001490; 00002033 OGC and Yellow for OCR
                                  to finish)
_00001462     00001462; 00003802; boilerplate                               See doc ID 00003802
                                  acknowledgement letters

_00001474     N/A                    Legal Review Requested ‐               Non‐Responsive
                                     EPA File No. 08R‐14‐R9

_00001483     00003495; 00000423;    GASP Title VI Admin                    Released in Full
              00000568; 00000596;    Complaint Against
              00000908; 00000916;    Jefferson County
              00001483; 00001510;    Department of Health ‐
              00001797; 00001954;    redacted.pdf
              00002060; 00000960
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              Threads, Duplicates,
Document ID                                  Subject         Exemption                                                                Vaughn Explanation
                 Attachments
_00001487     N/A                    Today's action          5 DPP       The redactions in items 1 and 2 at top of page should be "non‐responsive" because the redactions cover the names of other Title VI complaints
                                                                         that are unrelated to the Ludder/35th Ave Complaints. The larger Ex. 5 DPP redaction is correct. The redacted text is a discussion between two
                                                                         OGC attorneys regarding draft letters to the Complainant and Recipient. The redacted text explains OGC's review process of draft letters that
                                                                         OCR sent to OGC for comment and input. The withheld portions of the email string contain pre‐decisional discussions about applying edits to an
                                                                         agency letter responding to a Title VI Complaint. The email discussion occurred before the Agency responded to the Title VI Complaint. The
                                                                         discussion involved strategy, analysis of the title VI Complaint, and professional opinions of agency attorneys. The emails remained internal to
                                                                         the EPA. Release of this communications and others like it may discourage agency employees from having frank discussions and exchanging
                                                                         thoughts, ideas, and analyses prior to any expected agency decision. The agency's decisions would suffer if employees avoid expressing opinions
                                                                         and legal arguments for fear of release. The redacted text addresses differing opinions of OGC and OCR.


_00001489     N/A                                            5 ACP       The first non‐responsive redactions addresses an unrelated FOIA request. The larger non‐responsive redactions address other Title VI
                                                                         complaints, OCR's long term planning unrelated to the Title VI requests at issue here, and contains a few comments about an unrelated Title VI
                                                                         Complaint. ‐ The EXEMPTION 5 ATTORNEY CLIENT PRIVILEGE redactions relate to two differing opinions of two OGC attorneys. The document
                                                                         was drafted as an outline or agenda to be used at a later time to update and brief OGC's Julia Rhodes, the Assistant General Counsel for Civil
                                                                         Rights. The redactions prevent the release of legal advice. OGC was asked to advise OCR and OGC attorneys developed their own opinions.
                                                                         When this happens, the supervisory attorneys (Assistant General Counsels) are updated on the matter.

_00001490     00001451; 00001452; Cases to Discuss (RED to               See Doc ID 00001451 for correct redactions.
              00001490; 00002033 OGC and Yellow for OCR
                                  to finish)
_00001496     00000622; 00001496; Ludder Complaint and                   Released in Full
              00001753; 00001758; Acceptance Ltr (ABC) &
              00002662; 00002699; Ludder Complaint
              00003215; 00003852; (Walter)
              00003919
_00001505     00000873; 00001505; draft email for Dayna ‐‐           5 See 00000873
                                  edit away please!
_00001506     00000643; 00000646; Ludder Complaint                       See 0000646
              00001506; 00001562 Meeting
_00001507     00000432; 00000587; 2015.03.10.DRAFT(2)                    See 0001366
              00000927; 00001203; JCDH Ludder Desk
              00001204; 00001366; Statement (scp).doc
              00001507;
_00001510     00003495; 00000423; GASP Title VI Admin                    Released in Full
              00000568; 00000596; Complaint Against
              00000908; 00000916; Jefferson County
              00001483; 00001510; Department of Health ‐
              00001797; 00001954; redacted.pdf
              00002060; 00000960
_00001512     00000434; 00000436; 03R‐15‐R4 Desk                         Released in full, 3‐23‐16
              00001512;00001226; Statement
              00001231; 00001514;
              00001608
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              Threads, Duplicates,
Document ID                                 Subject          Exemption                                                                 Vaughn Explanation
                 Attachments
_00001514     00000434; 00000436;    03R‐15‐R4 Desk                      Released in Full
              00001512;00001226;     Statement
              00001231; 00001514;
              00001608
_00001529     00001282; 00001384;    Jefferson County       5 DPP        See Vaughn Entry for Doc ID 00001282
              00001529               Department of Health
                                     Title VI Complaint
_00001553                            Jefferson County                    Released in Full
                                     Department of Health
                                     (JCDH) Investigation
                                     Management Team
                                     Meeting
_00001554                            Documents for Region 4              Released in Full

_00001562     00000643; 00000646;    Ludder Complaint                    Released in Full
              00001506; 00001562     Meeting
_00001570     00001354; 00001570;    2015‐03‐03 EPA ‐ GASP 5 DPP; 6      For Ex. 5 DPP, see Vaughn entry for 00001354.
              00001573; 00001579     Title VI Admin Complaint
                                     Against Jefferson County            EXEMPTION 6 Personal Privacy. The Ex. 6 redactions protect an EPA employee's personal email addresses. In order to review the attached Title
                                     Department of Health                VI complaint while working at home, the employee forwarded the attachment to a personal email address. An employee's personal email
                                                                         address is unrelated to the Agency's function and unrelated to the underlying FOIA request. The remaining non‐exempt content of the email is
                                                                         released and allows the requester and the public to fully understand the email discussion. The employee's privacy interest outweigh any public
                                                                         interest in the employee's personal, non‐governmental, email address. Releasing EPA employee's personal email addresses could lead to
                                                                         unsolicited and unwarranted correspondence. Additionally, the employee's name is released in the FROM line and the email signature to allow
                                                                         the requester and the public to identify the employee without disclosing the employee's personal email address.

_00001573     00001354; 00001570; 2015‐03‐03 EPA ‐ GASP                  See Vaughn entry for 00001354.
              00001573; 00001579 Title VI Admin Complaint
                                  Against Jefferson County
                                  Department of Health

_00001579     00001354; 00001570; 2015‐03‐03 EPA ‐ GASP                  Released in full, 3‐23‐16
              00001573; 00001579 Title VI Admin Complaint
                                  Against Jefferson County
                                  Department of Health

_00001580                                                                The redacted document is an internal working draft (other versions of document exist in production, see Doc ID 0000522) ‐

                                                                         EXEMPTION 5 DELIBERATIVE PROCESS ‐ The redacted content intertwines facts from the Title VI Complaint, internal EPA to‐do tasks, and
                                                                         internal EPA opinions. Release of this information would cause confusion to the public. The document is not final and does not contain a final
                                                                         agency decision. The facts taken from the Title VI complaint are indistinguishable from OCR opinions and ideas listed for discussion and
                                                                         consideration. The segregable non‐exempt content provides a background and content to allow the public to understand the record without
                                                                         releasing the deliberative portions that would stifle internal debate and the Agency's use of this type of document.
                                              Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 44 of 58
                                                            Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                Subject            Exemption                                                               Vaughn Explanation
                 Attachments
_00001582     00000096; 00000104; Latest Ludder Complaint                 Released in Full
              00000132; 00001582; regarding JCDH Major
                                  Source Permit No. 4‐07‐
                                  0355‐03 EPA File No. 08R‐
                                  15‐R4

_00001588     00001588; 00001606 EPA File No. 03R‐15‐R4               6 The redactions cover an EPA employee's personal email. The employee wanted to have access to the URL's contained in the document. The
                                  and EPA File No. 08R‐15‐              URL's are to long video files. The same justification applies here as in 00001570.
                                  R4
_00001590                         EPA File No. 08R‐15‐R4                  Released in Full
                                  Jefferson County
                                  Department of Health
_00001592                         EPA File No.                            Released in Full
_00001596     00001020; 00001021; Call from Tao Simpson on                Released in Full
              00001025; 00001209; Friday, March 6th
              00001596; 00001601;
              00001603
_00001597                         Response to EPA File No.                Release in Full
                                  03R‐15‐R4
_00001600     00000432; 00000587; Send Letter of                          Release in Full
              00000927; 00001203; Acceptance to Recipient?
              00001204; 00001366;
              00001370; 00001507;
              00001600
_00001601     00001020; 00001021; Call from Tao Simpson on                See Doc ID 00001209 & 00001596, released in full.
              00001025; 00001209; Friday, March 6th
              00001596; 00001601;
              00001603
_00001602                                                                 released in full in other documents such as 00001027.
_00001603     00001020; 00001021; Call from Tao Simpson on                See Doc ID 00001209 & 00001596, released in full.
              00001025; 00001209; Friday, March 6th
              00001596; 00001601;
              00001603
_00001604     N/A                 03R‐15‐R4 Desk                          Released in Full. Note: PDF page 802 is a blank page. No redactions were made to this document.
                                  Statement (Revised
                                  DRAFT)
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 45 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                   Subject           Exemption                                                                Vaughn Explanation
                 Attachments
_00001605     00001213; 00001229; Draft Desk Statement          5 DPP       This document is a draft desk statement regarding the Title VI complaint. It might also be called a press release by some.
              00001605                                                      EXEMPTION 5 DELIBERATIVE PROCESS: The withheld desk statement is a draft document that is circulated for comment and feedback during the
                                                                            pre‐decisional phase of document drafting. EPA employees conduct deliberations about most documents used to communicate with someone
                                                                            outside the Agency. A draft press release regarding the Title VI complaint will go through multiple rounds of edits, comments, and feedback
                                                                            from various EPA offices. At the time the document was circulated, the Agency had not yet issued a final version of the press release. These EPA
                                                                            employees were commenting on the document while conducting email discussions about their forthcoming response to the Title VI complaint
                                                                            and related press inquiries. The attachment is a draft desk statement dated March 9, 2015 concerning the Title VI complaint.

                                                                            The withheld information is deliberative because EPA employees and managers were coordinating the Agency’s response to the Title VI
                                                                            complaint. In circulating the document, employees were discussing the appropriate language for the press release. This is demonstrated in some
                                                                            of the emails to which the draft document was attached. In the corresponding emails, an employee's request for advice and questions to his/her
                                                                            supervisors about properly responding to external inquiries about the Title VI complaint. The draft desk statement and all related email strings
                                                                            remain internal to the Agency.


_00001606     00001588; 00001606 Preliminary Investigative                  See 00001506, Near duplicate documents with identical explanations for redactions. Documents 00001588 (PDF page 785) _00001606 (PDF
                                  Plan                                      page 805)
_00001608     00000434; 00000436; 03R‐15‐R4 Desk                            Released in Full
              00001512;00001226; Statement
              00001231; 00001514;
              00001608
_00001612     00000624; 00001029;                                           Released in Full
              00001612; 00001628
_00001613     00000600; 00000931;                                           Released in Full
                00000933;
              00001033; 00001249;
              00001613 00001629;
              00001633; 00001635;
              00001637; 00001638;

_00001616                            JR: 03R‐15‐R4 (jefferson               Released in Full
                                     County Department of
                                     Health)

_00001617     00000437; 00000979;    For Legal Review ‐ EPA                 Released in Full
              00001042; 00001046;    File No. 03R‐15‐R4
              00001257; 00001617;    Jefferson County
              00001618; 00001630;    Department of Health
              00001631; 00001632;
              00001634; 00001636;
              00001961; 00000934
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 46 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject          Exemption                                                                  Vaughn Explanation
                 Attachments
_00001618     00000437; 00000979;    For Legal Review ‐ EPA               Released in Full
              00001042; 00001046;    File No. 03R‐15‐R4
              00001257; 00001617;    Jefferson County
              00001618; 00001630;    Department of Health
              00001631; 00001632;
              00001634; 00001636;
              00001961; 00000934
_00001619                            URGENT ‐ Please Read                 Redaction in error, redacted content is released in full in other records (00000438).
                                     (Ludder Complaint)
_00001621     00001064; 00001621;                                         Released in Full
              00001640
_00001622     00001061; 00001622                                          Released in Full
_00001624     00000668; 00000669; Brooksville to move                     Non‐Responsive, 3‐23‐16 production
              00000670; 00001039; forward with
              00001624; 00001625 environmental
                                  assessments of three
                                  Brownfields sites |
                                  Tampa Bay Tim
_00001625     00000668; 00000669; Brooksville to move                     Non‐Responsive
              00000670; 00001039; forward with
              00001624; 00001625 environmental
                                  assessments of three
                                  Brownfields sites |
                                  Tampa Bay Tim
_00001627                         Notification of Receipt                 Released in Full
                                  and Acceptance of
                                  Administrative Complaint
                                  regarding JR: 03‐15‐R4
                                  (Jefferson County
                                  Department of Health)


_00001628     00000624; 00001029;                                         Released in Full
              00001612; 00001628
_00001629     00000600; 00000931;                                         Released in Full
                00000933;
              00001033; 00001249;
              00001613 00001629;
              00001633; 00001635;
              00001637; 00001638;
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 47 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject          Exemption                                    Vaughn Explanation
                 Attachments
_00001630     00000437; 00000979;    For Legal Review ‐ EPA               Released in Full
              00001042; 00001046;    File No. 03R‐15‐R4
              00001257; 00001617;    Jefferson County
              00001618; 00001630;    Department of Health
              00001631; 00001632;
              00001634; 00001636;
              00001961; 00000934
_00001631     00000437; 00000979;    For Legal Review ‐ EPA               Released in Full
              00001042; 00001046;    File No. 03R‐15‐R4
              00001257; 00001617;    Jefferson County
              00001618; 00001630;    Department of Health
              00001631; 00001632;
              00001634; 00001636;
              00001961; 00000934
_00001632     00000437; 00000979;    For Legal Review ‐ EPA               Released in Full
              00001042; 00001046;    File No. 03R‐15‐R4
              00001257; 00001617;    Jefferson County
              00001618; 00001630;    Department of Health
              00001631; 00001632;
              00001634; 00001636;
              00001961; 00000934
_00001633     00000600; 00000931;                                         Released in Full
                00000933;
              00001033; 00001249;
              00001613 00001629;
              00001633; 00001635;
              00001637; 00001638;

_00001634     00000437; 00000979;    For Legal Review ‐ EPA               Released in Full
              00001042; 00001046;    File No. 03R‐15‐R4
              00001257; 00001617;    Jefferson County
              00001618; 00001630;    Department of Health
              00001631; 00001632;
              00001634; 00001636;
              00001961; 00000934
_00001635     00000600; 00000931;                                         Released in Full
                00000933;
              00001033; 00001249;
              00001613 00001629;
              00001633; 00001635;
              00001637; 00001638;
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 48 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject           Exemption                                                                 Vaughn Explanation
                 Attachments
_00001636     00000437; 00000979;    For Legal Review ‐ EPA                Released in Full
              00001042; 00001046;    File No. 03R‐15‐R4
              00001257; 00001617;    Jefferson County
              00001618; 00001630;    Department of Health
              00001631; 00001632;
              00001634; 00001636;
              00001961; 00000934
_00001637     00000600; 00000931;                                          Released in Full
                00000933;
              00001033; 00001249;
              00001613 00001629;
              00001633; 00001635;
              00001637; 00001638;

_00001638     00000600; 00000931;                                          Released in Full
                00000933;
              00001033; 00001249;
              00001613 00001629;
              00001633; 00001635;
              00001637; 00001638;

_00001639     00001050; 00001059; Jefferson County                         Released in Full
              00001377; 00001378; Department of Health
              00001639            Title VI Complaint
_00001640     00001064; 00001621;                                          Released in Full
              00001640
_00001644                         Notification of Receipt                  Released in Full

_00001704                            2015.04.__ EPA                        Released in Full
                                     Acknowledgement.pdf

_00001706                            Pending Title VI                      Released in Full
                                     Complaint, EPA File No.
                                     03R‐15‐R4
_00001708                            2015.04.__ EPA                        Released in Full
                                     Acknowledgement.pdf

_00001745     00000264; 00001745;                              NR          The redacted text is non‐responsive. This record is titled "2015 Title VI ‐ Region IV Second Quarter Update." The only portion of this document
              00003213                                                     that is responsive to the FOIA request was released in full, but the non‐responsive portions redacted in 00000264 were released in Doc ID
                                                                           00001745. Doc ID 00001745 contains additional non‐responsive pages that are not found in Doc ID 00000264.

_00001748     00001748; 00003901 As requested: Jefferson                   Released in full, 3‐23‐16
                                 County 4700 form

_00001750                                                                  Released in Full
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 49 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                   Subject            Exemption                                 Vaughn Explanation
                 Attachments
_00001753     00000622; 00001496;    Ludder Complaint and                    Released in Full
              00001753; 00001758;    Acceptance Ltr (ABC) &
              00002662; 00002699;    Ludder Complaint
              00003215; 00003852;    (Walter)
              00003919
_00001758     00000622; 00001496;    Ludder Complaint and                    Released in Full
              00001753; 00001758;    Acceptance Ltr (ABC) &
              00002662; 00002699;    Ludder Complaint
              00003215; 00003852;    (Walter)
              00003919
_00001770                            Title 6 Complaint for ABC               see doc ID 00002704
                                     Coke/ Jefferson County
                                     Dept. of Health

_00001775     00001770; 00001775; Title 6 Complaint for ABC                  see doc ID 000002704
              00001776; 00002704; Coke/ Jefferson County
              00002705            Dept. of Health

_00001776     00001770; 00001775; Title 6 Complaint for ABC
              00001776; 00002704; Coke/ Jefferson County
              00002705            Dept. of Health
                                                                             see document ID 00002705
_00001797     00003495; 00000423;    GASP Title VI Admin                     Released in Full
              00000568; 00000596;    Complaint Against
              00000908; 00000916;    Jefferson County
              00001483; 00001510;    Department of Health ‐
              00001797; 00001954;    redacted.pdf
              00002060; 00000960
_00001952                                                                    Released in Full
_00001953                                                                    see doc Id 00001605
_00001954     00003495; 00000423;    GASP Title VI Admin                     Released in Full
              00000568; 00000596;    Complaint Against
              00000908; 00000916;    Jefferson County
              00001483; 00001510;    Department of Health ‐
              00001797; 00001954;    redacted.pdf
              00002060; 00000960
_00001960                            JR: 03R‐15‐R4 (jefferson                Released in Full
                                     County Department of
                                     Health)
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 50 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject             Exemption                                                              Vaughn Explanation
                 Attachments
_00001961     00000437; 00000979;    For Legal Review ‐ EPA                  Released in Full
              00001042; 00001046;    File No. 03R‐15‐R4
              00001257; 00001617;    Jefferson County
              00001618; 00001630;    Department of Health
              00001631; 00001632;
              00001634; 00001636;
              00001961; 00000934
_00002007                            Jefferson County                        Released in Full
                                     Department of Health
                                     Title VI Complaint
_00002009                            Jefferson County                        Released in Full
                                     Department of Health
                                     Title VI Complaint
_00002023     00001385; 00002023     Jefferson County         5 DPP          See entry for 00001385
                                     Department of Health
                                     Title VI Complaint
_00002027                            Jefferson County                        Released in Full
                                     Department of Health
                                     Title VI Complaint
_00002033     00001451; 00001452;    Cases to Discuss (RED to NR             Redactions should be non‐responsive instead of Ex. 5 DPP, See Doc ID 00001451.
              00001490; 00002033     OGC and Yellow for OCR
                                     to finish)
_00002034                            Pending Title VI                        Release in Full
                                     Complaint, EPA File No.
                                     03R‐15‐R4
_00002060     00003495; 00000423;    GASP Title VI Admin                     Release in Full
              00000568; 00000596;    Complaint Against
              00000908; 00000916;    Jefferson County
              00001483; 00001510;    Department of Health ‐
              00001797; 00001954;    redacted.pdf
              00002060; 00000960
_00002607                            Complaint No. 03R‐15‐                   Released in Full
                                     R4; Response of Jefferson
                                     County Department of
                                     Health
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 51 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                   Subject         Exemption                                                                  Vaughn Explanation
                 Attachments
_00002610     00002610; 00002612 Emailing:                               6 Exemption 6 – personal privacy
                                 2015.03.11Walter
                                 .Complaint.pdf                           Personal e‐mail information of individuals who correspond with EPA has been redacted under FOIA Exemption 6 for personal privacy. The
                                                                          disclosure of this information would constitute a clearly unwarranted invasion of personal privacy. There is no public interest in the individuals'
                                                                          personal email information. The information redacted on the basis of Exemption 6 for personal privacy is protected to avoid potential
                                                                          unsolicited communications; the personal privacy interest of the individual in this case, is to prevent the possible burden of unsolicited
                                                                          telephone calls or written communications. In this instance, the harm to the individual as a result of the disclosure clearly outweighs the public
                                                                          interest in such disclosure.

                                                                          The only information withheld from this record is the information withheld under Exemption 6. All non‐exempt responsive information in this
                                                                          record has been released, and there is no reasonably segregable information remaining

_00002612     00002610; 00002612 Emailing: ABC                           6 Exemption 6 – personal privacy
                                 Complaint.pdf
                                                                          Personal e‐mail information of individuals who correspond with EPA has been redacted under FOIA Exemption 6 for personal privacy. The
                                                                          disclosure of this information would constitute a clearly unwarranted invasion of personal privacy. There is no public interest in the individuals'
                                                                          personal email information. The information redacted on the basis of Exemption 6 for personal privacy is protected to avoid potential
                                                                          unsolicited communications; the personal privacy interest of the individual in this case, is to prevent the possible burden of unsolicited
                                                                          telephone calls or written communications. In this instance, the harm to the individual as a result of the disclosure clearly outweighs the public
                                                                          interest in such disclosure.

                                                                          The only information withheld from this record is the information withheld under Exemption 6. All non‐exempt responsive information in this
                                                                          record has been released, and there is no reasonably segregable information remaining

_00002623     00001300; 00001394; Jefferson County                        Released in full, see 00002623
              00002623;           Department of Health
                                  (JCDH) Investigation
                                  Management Team
                                  Meeting
_00002661                         Title 6 ABC Coke                        Released in Full
                                  Complaint Call with HQ

_00002662     00000622; 00001496;    Ludder Complaint and                 Released in Full
              00001753; 00001758;    Acceptance Ltr (ABC) &
              00002662; 00002699;    Ludder Complaint
              00003215; 00003852;    (Walter)
              00003919
_00002693     00000403; 00000440;    Title VI complaint vs ABC 5 DPP &    See Vaughn Entry for 00000403; 00000440; 00000475; 00002693. In other near duplicates of this record, the "non‐responsive" redaction on PDF
              00000445; 00000446;    Coke/Drummond             ACP        Page 1015 of 1195 is redacted pursuant to Exemption 6 (e.g., 00000440), and released in full (e.g. 00000475)
              00000447; 00000448;
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00002694                            Title VI Complaint                   Released in Full
                                                Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 52 of 58
                                                              Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject          Exemption                                                                  Vaughn Explanation
                 Attachments
_00002696     00002696; 00003864 Title 6 ABC Coke             5 DPP       Exemption 5 ‐ Deliberative Process Privilege
                                 Complaint Call with HQ
                                                                          The withheld information in the email communication is protected under Exemption 5's deliberative process privilege because it is an internal
                                                                          conversation which reflects the question of EPA's staff that was helping guide how to best respond to an information request from the public.
                                                                          The withheld information does not represent an official Agency decision or policy and instead reflects analysis on issues still in development at
                                                                          the Agency. The withheld records are pre‐decisional because they contain information selected by EPA staff and issues contemplated by EPA
                                                                          staff that would potentially be affected by EPA's response to this FOIA request.

                                                                          All reasonably segregable and factual information within this email exchange has been released to Plaintiff. There is no remaining segregable
                                                                          information within the redacted portions of this email exchange.

_00002699     00000622; 00001496;    Ludder Complaint and                 Released in Full
              00001753; 00001758;    Acceptance Ltr (ABC) &
              00002662; 00002699;    Ludder Complaint
              00003215; 00003852;    (Walter)
              00003919
_00002700     00002700; 00002702;    Jefferson County                     Released in Full
              00002724; 00002763;    Department of Health
              00002767; 00002775;    Title VI Complaint
              00003712; 00004170;
              00004075
_00002702     00002700; 00002702;    Jefferson County                     Released in Full
              00002724; 00002763;    Department of Health
              00002767; 00002775;    Title VI Complaint
              00003712; 00004170;
              00004075
_00002704     00001770; 00001775;    Title 6 Complaint for ABC 5 DPP      Exemption 5 ‐ Deliberative Process Privilege
              00001776; 00002704;    Coke/ Jefferson County
              00002705               Dept. of Health                      The withheld information in the email communication is protected under Exemption 5's deliberative process privilege because it is an internal
                                                                          conversation which reflects the questions, deliberations, and responses of EPA's staff in determining how to best understand and respond to a
                                                                          reneweal permit. In addition, it reflects discussion between the EPA's Office of Civil Rights and other EPA staff members regarding the process to
                                                                          respond to petitions of objecting to permit renewals. The withheld information does not represent an official Agency decision or policy and
                                                                          instead reflects analysis on issues still in development at the Agency. The withheld records are pre‐decisional because they contain information
                                                                          selected by EPA staff and issues contemplated by EPA staff that would potentially be affected by EPA's response to this FOIA request.

                                                                          All reasonably segregable and factual information within this email exchange has been released to Plaintiff. There is no remaining segregable
                                                                          information within the redacted portions of this email exchange.

_00002705     00001770; 00001775; Title 6 Complaint for ABC               The document containing the redacted text is an email exchange between EPA R4 attorneys in the Office of Regional Counsel and Office of Civil
              00001776; 00002704; Coke/ Jefferson County                  Rights attorneys, and other OCR staffers. The redacted text discusses potential upcoming Title VI investigations. The attorneys ask questions and
              00002705            Dept. of Health                         provide their legal opinoins about the Title VI complaint, related air permits, and how the two topics intersect. The R4 attorneys are
                                                                          knowledgable about the legal aspects to the permitting process in Alabama. The OCR attorneys are knowledgeable about the Title VI complaints,
                                                                          and the other OCR program staff are receiving legal councel from the attorneys. The Office of REgional Counsel provides counsel to EPA R4 and
                                                                          other EPA offices and programs when the subject matter of the legal advice relates to issues within R4's states. Alabama is a Region 4 state.
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                                                              Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject          Exemption                                    Vaughn Explanation
                 Attachments
_00002707     00000403; 00000440;    Title VI complaint vs ABC 5 DPP &    See Vaughn Entry for 00000403;
              00000445; 00000446;    Coke/Drummond             ACP
              00000447; 00000448;
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00002719     00000403; 00000440;    Title VI complaint vs ABC 5 DPP &    See Vaughn Entry for 00000403;
              00000445; 00000446;    Coke/Drummond             ACP
              00000447; 00000448;
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00002724     00002700; 00002702;    Jefferson County                     Released in Full
              00002724; 00002763;    Department of Health
              00002767; 00002775;    Title VI Complaint
              00003712; 00004170;
              00004075
_00002763     00002700; 00002702;    Jefferson County                     Released in Full
              00002724; 00002763;    Department of Health
              00002767; 00002775;    Title VI Complaint
              00003712; 00004170;
              00004075
_00002767     00002700; 00002702;    Jefferson County                     Released in Full
              00002724; 00002763;    Department of Health
              00002767; 00002775;    Title VI Complaint
              00003712; 00004170;
              00004075
_00002771                                                     NR          Non‐Responsive
_00002775     00002700; 00002702; Jefferson County                        Released in Full
              00002724; 00002763; Department of Health
              00002767; 00002775; Title VI Complaint
              00003712; 00004170;
              00004075
_00003101                         Ludder ‐ Jefferson                      Released in Full
                                  County Department of
                                  Health: Region 4
_00003104     00000644; 00000652; follow up on Title VI                   Released in Full
              00000690; 00003104 complaints
_00003209                         Correction: NCDNR           NR          Non‐Responsive
                                  REACH Complaint
                                                 Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 54 of 58
                                                               Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject            Exemption                                                                 Vaughn Explanation
                 Attachments
_00003213     00000264; 00001745;                               NR          The redacted text is non‐responsive. This record is titled "2015 Title VI ‐ Region IV Second Quarter Update." The only portion of this document
              00003213                                                      that is responsive to the FOIA request was released in full, but the non‐responsive portions redacted in 00000264 were released in Doc ID
                                                                            00001745. Doc ID 00001745 contains additional non‐responsive pages that are not found in Doc ID 00000264.

_00003215     00000622; 00001496;    Ludder Complaint and                   Released in Full
              00001753; 00001758;    Acceptance Ltr (ABC) &
              00002662; 00002699;    Ludder Complaint
              00003215; 00003852;    (Walter)
              00003919
_00003225                            Petition Requesting the                Released in Full
                                     Administrator Object to
                                     Title V Permit for ABC
                                     Coke Facility (Request
                                     Assistance)

_00003254                            Jefferson County                       Released in Full
                                     Department of Health
                                     Title VI Complaint
_00003354                            Map, City of Birmingham,               Released in Full
                                     AL
_00003355                                                                   Released in Full
_00003451     00000406; 00000409;requests for hearing with                  Released in Full
              00000442; 00000478;JCBH to contest Major
              00000951; 00003451;Source Operating
              00003552;          permits
_00003456                        JeffCo Board of Health                     Released in Full
                                 rejects appeal of ABC
                                 Coke Permit
_00003457                        March MVD Status                           Released in Full
                                 report
_00003460     00003460; 00003553 Walter Coke and ABC       5 DPP            Exemption 5 ‐ Deliberative Process Privilege
                                 Coke
                                                                            The withheld information in the email communication is protected under Exemption 5's deliberative process privilege because it is an internal
                                                                            conversation which reflects the deliberations questions, and opinion of the EPA's staff in determining how to best respond to an information
                                                                            request from the public. The withheld information does not represent an official Agency decision or policy and instead reflects analysis on issues
                                                                            still in development at the Agency. The withheld records are pre‐decisional because they contain information selected by EPA staff and issues
                                                                            contemplated by EPA staff that would potentially be affected by EPA's response to this FOIA request.

                                                                            All reasonably segregable and factual information within this email exchange has been released to Plaintiff. There is no remaining segregable
                                                                            information within the redacted portions of this email exchange.
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              Threads, Duplicates,
Document ID                                   Subject            Exemption                                                                  Vaughn Explanation
                 Attachments
_00003461                            Walter Coke and ABC         5 DPP       Exemption 5 ‐ Deliberative Process Privilege
                                     Coke
                                                                             The withheld information in the email communication is protected under Exemption 5's deliberative process privilege because it is an internal
                                                                             conversation which reflects a case that EPA's Office of Civil Rights is working on that involves the same attorney as the one for this petition. The
                                                                             information involves internal discussion about the situation and what needs to be acquired in order to best manage an information request from
                                                                             the public. The withheld information does not represent an official Agency decision or policy and instead reflects analysis on issues still in
                                                                             development at the Agency. The withheld records are pre‐decisional because they contain information selected by EPA staff and issues
                                                                             contemplated by EPA staff that would potentially be affected by EPA's response to this FOIA request.

                                                                             All reasonably segregable and factual information within this email exchange has been released to Plaintiff. There is no remaining segregable
                                                                             information within the redacted portions of this email exchange.

_00003495                            GASP Files Civil Rights                 Released in Full
                                     Complaint Against JCDH ‐
                                     GASP
_00003552     00000406; 00000409;    requests for hearing with               Released in Full
              00000442; 00000478;    JCBH to contest Major
              00000951; 00003451;    Source Operating
              00003552;              permits
_00003553     00003460; 00003553     Walter Coke and ABC                     Released in Full
                                     Coke
_00003702                                                                    Released in Full
_00003703;                           Title V fee information                 Released in Full
00003752                             request
_00003704                            compliance certifications               Released in Full

_00003712     00002700; 00002702; Jefferson County                           Released in Full
              00002724; 00002763; Department of Health
              00002767; 00002775; Title VI Complaint
              00003712; 00004170;
              00004075
_00003740                         Title V permit                 NR          Non‐Responsive
                                  modification
_00003746                                                                    Released in Full
_00003749                            ACIPCO                                  Released in Full
_00003750                                                        NR          Non‐Responsive
_00003752;                           Title V fee information                 Released in Full
003703                               request
_00003753                            compliance certifications               Released in Full

_00003761                            wrap up from North                      Released in Full
                                     Birmingham Air
                                     Permitting Workshop.
_00003762                            wrap up from North                      Released in Full
                                     Birmingham Air
                                     Permitting Workshop.
                                               Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 56 of 58
                                                             Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                Subject            Exemption                                                              Vaughn Explanation
                 Attachments
_00003802     00001462; 00003802 boilerplate             NR               Non‐Responsive, 3‐23‐16 production
                                 acknowledgement letters

_00003806                         FYI. Claim that EPA's       NR          Duplicate, redacted as Non‐Responsive.
                                  scope of authority
                                  position contradicts
                                  Sandoval.
_00003813                         URGENT ‐                    NR          Non‐Responsive
                                  acknowledgement letters
                                  in Kettleman Hills
                                  complaint
_00003851     00000403; 00000440; Title VI complaint vs ABC   5 DPP &     See Vaughn Entry for 00000403;
              00000445; 00000446; Coke/Drummond               ACP
              00000447; 00000448;
              00000449: 00000475;
              00000687; 00000859;
              00000861; 00001295:
              00002693; 00002707;
              00002719; 00003851.
_00003852     00000622; 00001496; Ludder Complaint and                    Released in Full
              00001753; 00001758; Acceptance Ltr (ABC) &
              00002662; 00002699; Ludder Complaint
              00003215; 00003852; (Walter)
              00003919
_00003860     00003860; 00003866 Upcoming DOJ Docket                      Released in Full
                                  (May 6th ‐ 7th) ‐ Slight
                                  Agenda Time change
_00003864     00002696; 00003864 Title 6 ABC Coke                         Redacted text on document's page 00001 (pdf page (1157) reads "What did we tell them about Walter coke?"; The redacted text on 00002 (PDF
                                  Complaint Call with HQ                  page 1158) reads: "Now that they are aware of the active matters on both Walter Coke and ABC Coke, Helena says she wants to go back and
                                                                          speak with OGC, so that tehre's no negative impact to the enforcement case."
                                                Case 2:15-cv-01491-KOB          Document 31-2 Filed 03/24/16 Page 57 of 58
                                                              Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject           Exemption                                                                  Vaughn Explanation
                 Attachments
_00003866     00003860; 00003866 Upcoming DOJ Docket           5 DPP; 6    Exemption 5 ‐ Deliberative Process Privilege
                                 (May 6th ‐ 7th) ‐ Slight
                                 Agenda Time change                        At the time of the discussions, the Agency had not made a final decision concerning listing of the ABC Coke Plant and EPA was still deliberating
                                                                           on the best Agency‐wide approach for coordinating its response. The withheld information is deliberative because EPA employees and managers
                                                                           were still internally discussing issues concerning EPA action related to the site. The record reflects analysis, recommendations, and opinions that
                                                                           were considered as part of the Agency's decision making process prior to its actions regarding the site. The emails do not constitute a final
                                                                           Agency action.

                                                                           Exemption 6 – personal privacy

                                                                           Personal phone number of an individual who corresponded with EPA has been redacted under FOIA Exemption 6 for personal privacy. The
                                                                           disclosure of this information would constitute a clearly unwarranted invasion of personal privacy. There is no public interest in the individuals'
                                                                           personal email information. The information redacted on the basis of Exemption 6 for personal privacy is protected to avoid potential
                                                                           unsolicited communications; the personal privacy interest of the individual in this case, is to prevent the possible burden of unsolicited
                                                                           telephone calls or written communications. In this instance, the harm to the individual as a result of the disclosure clearly outweighs the public
                                                                           interest in such disclosure.

                                                                           The only information withheld from this record is the information withheld under Exemption 5 & 6. All non‐exempt responsive information in
                                                                           this record has been released, and there is no reasonably segregable information remaining.

_00003901     00001748; 00003901 As requested: Jefferson                   Released in Full
                                 County 4700 form

_00003905                            Jefferson County                      Released in Full
                                     Department of Health
                                     Title VI Complaint
_00003913                            Correction: NCDNR         NR          Non‐Responsive
                                     REACH Complaint
_00003919     00000622; 00001496;    Ludder Complaint and                  Released in Full
              00001753; 00001758;    Acceptance Ltr (ABC) &
              00002662; 00002699;    Ludder Complaint
              00003215; 00003852;    (Walter)
              00003919
_00004001                            Please review                         Released in Full
_00004003                                                                  Released in Full
_00004012                         Please review                NR          Non‐Responsive
_00004075     00002700; 00002702; Jefferson County                         Released in Full, 3‐23‐16
              00002724; 00002763; Department of Health
              00002767; 00002775; Title VI Complaint
              00003712; 00004170;
              00004075
_00004097                                                                  Released in Full
_00004108     00004109; 00004140 availability for a check in               Released in Full

_00004109     00004109; 00004140 availability for a check in               Released in Full. Note: page 2 of 00004109 (PDF page 1187 of 1195) is blank. No redactions applied.
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                                                              Vaughn Index ‐ FOIA Request EPA‐HQ‐2015‐004930 (Title VI Request)



              Threads, Duplicates,
Document ID                                  Subject          Exemption                                                                  Vaughn Explanation
                 Attachments
_00004129                                                                 Released in Full
_00004136                        circling back               NR           Non‐Responsive
_00004140     00004109; 00004140 availability for a check in NR           Duplicate of other records, redacted as Non‐Responsive.

_00004170     00002700; 00002702;    Jefferson County                     See 00004075
              00002724; 00002763;    Department of Health
              00002767; 00002775;    Title VI Complaint
              00003712; 00004170;
              00004075
00001856;     00001856; 00001863;    Civil Rights Complaint   5 DPP       This group of records is part of various related email strings between OGC, OCR, and Office of Public Affairs. The emails discuss strategies for
00001863;     00001864; 00001955;    Against Alabama Health               responding to a press inquiry.
00001864;     00001956; 00001957;    Department
00001955;     00003351; 00003352;                                         EXEMPTION 5 DELIBERATIVE PROCESS PRIVILEGE. The redacted text is pre‐decisional and deliberative opinion expressed by Jennifer Colaizzi to
00001956;     00003363; 00003364;                                         her Agency colleagues about handling a press inquiry. Ms. Colaizzi expressed her thoughts and shared those thoughts with multiple agency
00001957;     00000272; 00000273;                                         colleagues. The withheld portion does not contain an official agency policy or decision. Ms. Colaizzi shared her opinion with others involved in
00003351;     00000661; 00000666;                                         the decision making process. The redacted text is deliberative because EPA employees and manages were discussing a press inquiry and how to
00003352;     00000704; 00000705;                                         best respond. The record reflects Ms. Colaizzi's analysis of the press inquiry and her agency colleagues were considering and discussing Ms.
00003363;     00000707; 00001034;                                         Colaizzi's opinion. Release would discourage Ms. Colaizzi and other agency employees from engaging in open and frank discussions about the
00003364;     00001036; 00001037;                                         agency's strategies. Release would also have a chilling effect on agency decision‐making processes, and on the AGency's ability to have internal
00000272;     00001038; 00001201;                                         discussion and consultations concerning public messaging. Ms. Colaizzi's opinoins were not circulated outside of the Agency. All Redactions in
00000273;     00001367; 00001513;                                         this group of documents should be Ex. 5 DPP. Some of the records in this group are released in full (e.g., 00001031; 00003364; 00000273;
00000661;     00001610; 00001611;                                         00000707; 00003351; 00003352)
00000666;     00001614; 00001615;
00000704;     00001853; 00001854;
00000705;     00001861; 00001862
00000707;
00001034;
00001036;
00001037;
00001038;
00001201;
00001367;
00001513;
00001610;
00001611;
00001614;
